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                 Exhibit 13
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         1            IN THE UNITED STATES DISTRICT COURT
         2              FOR THE MIDDLE DISTRICT OF FLORIDA
         3
         4   ALLEN MENEAR,                    ) CASE NO.
                                              )
         5                    Plaintiff,      ) 8:22-CV-1644-RBD-DAB
                                              )
         6   v.                               )
                                              )
         7   NOVARTIS PHARMACEUTICALS )
             CORPORATION,                     )
         8                                    )
                              Defendant.      )
         9
        10
        11            ORAL DEPOSITION OF ALLEN RAY MENEAR,
        12   called by the Defendant for examination, taken by
        13   and before Ann Medis, RPR, CLR, CSR-WA, and Notary
        14   Public, at the SpringHill Suites by Marriott
        15   Bridgeport Clarksburg, 97 Platinum Drive,
        16   Bridgeport, West Virginia 26330, on Thursday,
        17   January 19, 2023, commencing at 10:08 a.m.
        18
        19
        20
        21
        22
        23
        24
        25




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        3        ONDER LAW, LLC                                                  Visit in Hematology/Oncology
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                 BY: NICHOLAS G. HIGGINS, ESQUIRE                     5   Exhibit 13 10/29/14 WVU Medicine Nurses Notes 101
        4        110 East Lockwood                                               MENEAR_ALLEN-FED-0901-16667
                 Saint Louis, Missouri 63119                          6
        5        314.963.9000                                             Exhibit 14 11/17/14 WVU Medicine Return Patient 106
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                 nhiggins@onderlaw.com                                           MENEAR_ALLEN-FED-0874-00823 - 00827
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        9        1350 I Street, N.W.                                      Exhibit 16 Tasigna Package Insert,        114
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                 arybicki@hollingsworthllp.com                            Exhibit 18 11/2/15 WVU Medicine Return Patient 126
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        1            PROCEEDINGS                                   1   deposed?
        2                 ----                                     2       A. Yes.
        3              ALLEN RAY MENEAR,                           3       Q. We'll talk about the asphalt incident a
        4      having been first duly sworn, was examined          4   little bit later. I'm sure your attorney has told
        5           and testified as follows:                      5   you what to expect today, but I would like to give
        6               EXAMINATION                                6   you some general instructions. I know you were
        7   BY MS. RYBICKI:                                        7   deposed before, but I want to remind you of what
        8       Q. Good morning, Mr. Menear.                       8   is expected of you today.
        9       A. Good morning.                                   9           I will be asking you questions today.
       10       Q. My name is Aleksandra Rybicki. I'm with        10   If you do not hear or understand my question,
       11   the law firm Hollingsworth, LLP. I represent          11   please let me know, and I will repeat it or
       12   Tasigna in this matter. I'm here to ask you a few     12   rephrase it. Do you understand?
       13   questions today.                                      13       A. Yes.
       14         Will you please state your name and             14       Q. If you respond to a question that I've
       15   address for the record.                               15   asked, I will assume that you understood my
       16       A. My full name?                                  16   question. We cannot speak at the same time
       17       Q. Yes.                                           17   because the court reporter needs to take down what
       18       A. Allen Ray Menear, 828 Maple Avenue,            18   each one of us says. So please let me finish
       19   Grafton, West Virginia.                               19   asking my question before you start answering.
       20       Q. Have you ever gone by any other name?          20   Okay?
       21       A. Red. I used to have red hair.                  21       A. Okay.
       22       Q. Was that ever used on any official             22       Q. You must answer the questions verbally.
       23   document?                                             23   The court reporter cannot take down nods of the
       24       A. No.                                            24   head or shaking of the head. Do you understand?
       25       Q. This is just something your friends call       25       A. Yes.
                                                         Page 7                                                      Page 9
        1   you?                                                   1       Q. You should not speculate. If you don't
        2       A. Yeah.                                           2   know an answer to a question or if you don't
        3       Q. Have you ever been deposed before,              3   remember the information, you should just tell me
        4   Mr. Menear?                                            4   that. Don't try to answer a question that you
        5       A. Pardon?                                         5   don't know the answer to. Do you understand that?
        6       Q. Have you ever been deposed before?              6       A. Yes, ma'am.
        7   Right now what we are doing is a deposition where      7       Q. If you need to take a break at any
        8   I'm asking you questions as part of a case.            8   point, please let me know. But if there's a
        9         Have you ever been deposed before like           9   question pending, if I had just asked you a
       10   this?                                                 10   question, please answer that question and then we
       11       A. Yes.                                           11   can take a break. Do you understand?
       12       Q. When were you deposed?                         12       A. Yes.
       13       A. 1990.                                          13       Q. Now, do you understand that today you're
       14       Q. What type of case was this?                    14   under oath meaning that you have an obligation to
       15       A. It was a lawsuit against the State of          15   tell the truth just as if you were in court today?
       16   West Virginia.                                        16       A. Yes, ma'am.
       17       Q. Did you file that lawsuit?                     17       Q. Is there any reason why you cannot give
       18       A. My lawyers.                                    18   full, accurate and complete testimony today?
       19       Q. So you were the plaintiff in that case?        19       A. No.
       20       A. Yes.                                           20       Q. Have you taken any medications in the
       21       Q. What was the subject matter of that            21   last 24 hours that would impact your ability to
       22   case? Why did you file that case?                     22   hear and understand my questions and respond to
       23       A. One of their trucks carrying hot asphalt       23   them?
       24   hit me and poured it on me, burned me up.             24       A. No. I don't hear real good. If you
       25       Q. Was that the only time that you were           25   just speak up a little bit, it will help me.



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        1       Q. Are you on any recreational drugs              1   your heart, vascular and lung doctors. Any other
        2   currently?                                            2   doctors prescribe --
        3       A. No.                                            3      A. My family doctor.
        4       Q. Have you taken any alcohol in the last         4      Q. Who is that?
        5   24 hours?                                             5      A. James Malone.
        6       A. No.                                            6      Q. Is that M-A-L-O-N-E?
        7       Q. Are you on any prescription medications?       7      A. Yes, ma'am.
        8       A. Oh, yes.                                       8      Q. Anyone else?
        9       Q. Have you skipped any medications in the        9      A. That's it.
       10   last 24 hours that a doctor told you to take?        10      Q. Are you seeing an oncologist?
       11       A. Yes.                                          11      A. No.
       12       Q. Which?                                        12      Q. You mentioned you're taking Gleevec.
       13       A. All my morning pills, I didn't take them      13   Did you see somebody for the prescription of
       14   this morning, and that's -- I can't even tell you    14   Gleevec?
       15   what they are. There's so many, I don't know.        15      A. Yes.
       16       Q. Would you say there are five pills you        16      Q. Who was that?
       17   forgot or ten pills?                                 17      A. Just left my mind. Dr. Craig.
       18       A. Ten.                                          18      Q. When was the last time you saw
       19       Q. Approximately ten?                            19   Dr. Craig?
       20       A. Um-hum.                                       20      A. Probably six months ago.
       21       Q. Are you able to tell me what they are?        21      Q. Let's go back to just the general
       22       A. Pletal, baby aspirin, Gleevac. That's         22   questions.
       23   all I can't remember.                                23         MS. RYBICKI: Before I begin with
       24       Q. Have all these medications been               24   additional questions, I will note for the record
       25   prescribed to you by doctors?                        25   that Novartis is still in the process of obtaining
                                                       Page 11                                                    Page 13
        1      A. Yes.                                            1   records from medical providers. As a result,
        2      Q. Are any of them over the counter?               2   Novartis reserves its right to continue the
        3      A. No.                                             3   deposition of plaintiff past today based upon any
        4      Q. Which doctors prescribed you these              4   additional documents or discovery being made
        5   medications?                                          5   available.
        6      A. My heart doctor, my vascular doctor.            6   BY MS. RYBICKI:
        7      Q. Who is your heart doctor?                       7       Q. Mr. Menear, have you ever testified at
        8      A. Steve Nagey.                                    8   trial?
        9      Q. Any idea how to spell his last name?            9       A. No.
       10      A. N-A-G-E-Y, I believe.                          10       Q. Now, specifically about this lawsuit,
       11      Q. You said your vascular doctor. Who is          11   have you ever read or heard anything about Tasigna
       12   that?                                                12   since filing this lawsuit?
       13      A. Dr. Marrone.                                   13       A. Yes.
       14      Q. Would that be M-A-R-O-N-E?                     14       Q. What have you heard or read?
       15      A. Two Rs.                                        15       A. I read the side effects form, what did
       16      Q. M-A-R-R-O-N-E?                                 16   it cause. It was diarrhea, vomiting, upset
       17      A. Yes.                                           17   stomach. That's all I can remember what it said.
       18      Q. Any other doctors prescribe you any of         18   All this hit me at once.
       19   the medications that you're currently taking?        19       Q. Just to be clear, since you filed this
       20      A. Yeah. My lung doctor.                          20   lawsuit, the only thing that you read or heard
       21      Q. Who would that be?                             21   about Tasigna was this side effect information, or
       22      A. I don't know her name. I go to so many         22   was there other information you read or heard
       23   doctors, I don't...                                  23   about Tasigna?
       24      Q. That's fine. I gave you the instruction        24       A. No. That's it.
       25   to not speculate, so you're doing well. We have      25       Q. And this side effect information that



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        1   you just mentioned, where did you get it?              1       Q. I'm going to need a little bit more
        2       A. Dr. Craig's assistant.                          2   information about exactly what you saw on
        3       Q. What's Dr. Craig's assistant's name?            3   television.
        4       A. I don't know.                                   4          Let me just ask you: These people on
        5       Q. Did you request this information from           5   television were representing that they had a
        6   Dr. Craig's assistant or Dr. Craig, or did             6   potential claim against Tasigna; is that accurate?
        7   Dr. Craig send it to you on his own?                   7       A. Yes.
        8       A. Dr. Craig gave it to me.                        8       Q. And their claim was that they had some
        9       Q. Do you have a copy of that information          9   kind of side effect to taking Tasigna; is that
       10   about side effects?                                   10   right?
       11       A. No.                                            11       A. Yes.
       12       Q. How did Dr. Craig send that to you? Was        12       Q. What side effects do you remember those
       13   it via email, mail, or did he have give you a hard    13   people complaining --
       14   copy?                                                 14       A. What I remember is vomiting, upset
       15       A. It was a doctor's office appointment,          15   stomach, headaches, diarrhea.
       16   and he said there's a trial drug. He wanted know      16       Q. So in 2016 or early 2017, you saw a
       17   if I would be interested. He thought it could         17   commercial where people said that Tasigna possibly
       18   lower my numbers.                                     18   caused their vomitting, upset stomach, headaches
       19       Q. I think maybe we're misunderstanding           19   and/or diarrhea. How did you respond to that
       20   each other. My question was originally since you      20   information?
       21   filed the lawsuit, and I believe you filed the        21       A. We talked to Dr. Craig about it.
       22   lawsuit in 2022; is that fair?                        22       Q. Were there any other side effects
       23       A. Yes.                                           23   mentioned in that television ad?
       24       Q. So after 2022, after you filed the             24       A. No.
       25   lawsuit, did you review or hear any information       25       Q. Nothing about coronary artery disease,
                                                        Page 15                                                   Page 17
        1   about Tasigna?                                         1   by any chance?
        2       A. No.                                             2      A. Not that I remember.
        3       Q. So this information about side effects          3      Q. What about people taking Tasigna, any
        4   that Dr. Craig provided you with, that was before      4   issues with the heart?
        5   you filed the lawsuit?                                 5      A. Yes.
        6       A. Yes; oh, yes.                                   6      Q. What about in that television ad people
        7       Q. So again, just to make sure, since you          7   mentioning they took Tasigna and they have issues
        8   filed the lawsuit in 2022, you have not heard or       8   with peripheral arterial occlusive disease or
        9   read any information about Tasigna?                    9   issues with their legs or veins or arteries?
       10       A. No.                                            10      A. No, not on the commercial.
       11       Q. Were you aware of whether other people         11      Q. What about death, did any of those
       12   have filed a lawsuit against Tasigna?                 12   people complain about dying from taking Tasigna?
       13       A. Yes.                                           13      A. No.
       14       Q. How were you aware of that?                    14      Q. Do you know the types of injuries other
       15       A. I seen it on TV.                               15   people alleged from taking Tasigna?
       16       Q. Do you remember what channel?                  16      A. No.
       17       A. No, ma'am.                                     17      Q. You mentioned that you saw this ad about
       18       Q. Do you remember when you saw this on TV?       18   Tasigna at the end of 2016 or beginning of 2017
       19       A. 2016, end of 2016, maybe 2017.                 19   and you decided to talk to Dr. Craig about it; is
       20       Q. What exactly did you see on the news           20   that fair?
       21   about Tasigna either at the end of 2016 or            21      A. That's correct.
       22   beginning of 2017?                                    22      Q. Do you remember when you went to
       23       A. That there was lawsuits. People was --         23   Dr. Craig to talk about this commercial or
       24   the side effect was causing, I don't know, special    24   advertisement?
       25   side effects. And then we called, talked to them.     25      A. The first of 2017.


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        1      Q. When you say the first of 2017, do you           1   BY MS. RYBICKI:
        2   mean January 1 or the very beginning of 2017?          2      Q. She notified you that you have a
        3      A. Very beginning.                                  3   deposition today?
        4      Q. How did that conversation go? Did you            4      A. Yes.
        5   explain to Dr. Craig what you had seen?                5      Q. How much advance notice did she give you
        6      A. Yes.                                             6   about your deposition?
        7      Q. And how did Dr. Craig respond?                   7      A. Two weeks.
        8      A. He told me that he's not had any                 8      Q. So if you look at the Notice of
        9   information on any side effects. And at this           9   Deposition, you see that it's entitled Notice of
       10   time, I was having severe pain in my legs, both       10   Deposition of Allen Menear.
       11   legs.                                                 11          Do you see that?
       12      Q. So did Dr. Craig agree or disagree with         12      A. Yes, ma'am.
       13   the people's allegations of injuries in that          13      Q. And the very last sentence says, "The
       14   commercial?                                           14   Plaintiff shall bring to the deposition any
       15      A. No. He didn't disagree or agree. He             15   documents and tangible things responsive to the
       16   just stated the information he had didn't show any    16   Plaintiff Fact Sheet that have not already been
       17   side effects.                                         17   produced to NPC, including any documents obtained
       18      Q. So in terms of your leg pain at the time        18   or acquired since completion of the PFS and any
       19   that you spoke to Dr. Craig, did he say it was a      19   amendments thereto."
       20   possibility that it was being caused by Tasigna?      20          Do you see that?
       21      A. No.                                             21      A. Yes.
       22      Q. What about any of your other issues that        22      Q. Do you understand that to mean that you
       23   you had at the time, your medical issues, did he      23   should bring any documents relevant to the
       24   say that any of those were caused by Tasigna at       24   Plaintiff Fact Sheet to this deposition?
       25   the time?                                             25      A. Yes.
                                                        Page 19                                                  Page 21
        1      A. No.                                              1       Q. Did you bring any such documents with
        2      Q. I'm going to mark three exhibits for the         2   you?
        3   record, the Notice of Deposition as Exhibit 1, the     3       A. No. This was the first time I've seen
        4   Complaint as Exhibit 2 and the Plaintiff Fact          4   this.
        5   Sheet as Exhibit 3.                                    5       Q. So you were not told by Onder Law or any
        6          Mr. Higgins those will be at the end.           6   of your attorneys to bring any documents
        7   Let's start with the Notice of Deposition. Let me      7   responsive to the Plaintiff Fact Sheet?
        8   know when you have it in front of you and you're       8          MR. HIGGINS: Objection.
        9   ready to answer questions.                             9   Attorney/client privilege.
       10          Have you seen this Notice of Deposition        10   BY MS. RYBICKI:
       11   before?                                               11       Q. What efforts did you make to determine
       12      A. No, ma'am.                                      12   whether you had responsive information to the
       13      Q. How did you learn that we were going to         13   requests in the Notice of Deposition?
       14   take your deposition today?                           14       A. I talked with my cancer doctor.
       15      A. Law firm.                                       15       Q. Who is your cancer doctor?
       16          THE WITNESS: What's your law firm?             16       A. Dr. Craig.
       17          MR. HIGGINS: Onder.                            17       Q. So you talked to Dr. Craig about having
       18          THE WITNESS: Onder contacted me.               18   any information relevant to this case?
       19   BY MS. RYBICKI:                                       19       A. Yes.
       20      Q. Do you remember who from the law firm           20       Q. When did you speak to Dr. Craig about
       21   contacted you?                                        21   this?
       22      A. Malayia, Marie?                                 22       A. 2017.
       23          MR. HIGGINS: Would that be Lawanna?            23       Q. I think we're misunderstanding each
       24          THE WITNESS: Lawanna.                          24   other. In terms of this Notice of Deposition that
       25                                                         25   tells you that you're supposed to attend this


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        1   deposition today and it says bring any relevant      1   you see it. Do you see where it says Allen
        2   documents with you, did you talk to anyone about     2   Menear?
        3   any documents that you should bring for this         3      A. Yes.
        4   deposition?                                          4      Q. Plaintiff, versus Novartis
        5      A. No, ma'am.                                     5   Pharmaceuticals Corporation.
        6      Q. So just to be clear, you did not talk to       6      A. Yes.
        7   Dr. Craig about bringing documents to the            7      Q. Is this the lawsuit that you filed
        8   deposition?                                          8   against Novartis Pharmaceuticals Corporation?
        9      A. No, no.                                        9      A. Yes.
       10          MR. HIGGINS: Let her finish the              10      Q. Do you see on the header there on that
       11   question.                                           11   page it says that it was filed July 21, 2022 at
       12   BY MS. RYBICKI:                                     12   the very top?
       13      Q. Do you think sitting here today that you      13      A. Yes.
       14   may have some documents that may be relevant to     14          MR. HIGGINS: What was the date again?
       15   this case --                                        15          THE WITNESS: 7/21/22.
       16          MR. HIGGINS: Objection.                      16   BY MS. RYBICKI:
       17   BY MS. RYBICKI:                                     17      Q. Did you help your attorney put this
       18      Q. -- that you have not brought with you         18   Complaint together?
       19   today?                                              19      A. Yes.
       20          MR. HIGGINS: Objection. Calls for            20      Q. How did you help your attorney put this
       21   speculation.                                        21   Complaint together?
       22          You can answer subject to the objection.     22      A. My wife talked to him.
       23   BY MS. RYBICKI:                                     23      Q. Did you speak to your attorneys about
       24      Q. Just to be clear, when he objects, when       24   the information contained in this Complaint?
       25   your attorney objects, that's okay. But you still   25      A. No.
                                                      Page 23                                                   Page 25
        1   have to answer the question. So I'm going to         1      Q. So the information that is in the
        2   re-ask my question because you were probably         2   Complaint would be retrieved from your wife?
        3   interrupted by the objection.                        3      A. Yes.
        4          Do you think sitting here today that you      4      Q. Your wife spoke to your attorneys about
        5   have or you may have some documents at home or       5   what happened, and that is how your attorneys put
        6   maybe in an office that are relevant to this case    6   together the Complaint?
        7   that you did not bring to this deposition today?     7      A. Yes.
        8      A. No.                                            8      Q. Mr. Menear, can you tell me as best as
        9      Q. Do any such documents exist? I know you        9   you can, what do you think this case is about?
       10   said you don't have them, but do they exist?        10      A. Losing my leg.
       11      A. Yes.                                          11      Q. Can you give me a little bit more
       12      Q. And who would have these documents?           12   information about why exactly you brought this
       13      A. Dr. Craig.                                    13   case about losing your leg?
       14      Q. Would your attorneys have these               14      A. At this time, Dr. Craig said he did some
       15   documents as well?                                  15   research, and he found out that there was lawsuits
       16      A. Yes.                                          16   pending.
       17      Q. Let's move on to the Complaint, which is      17      Q. When you say at this time Dr. Craig
       18   Exhibit 2. Have you seen this Complaint before?     18   found out, what time are you referring to?
       19      A. No.                                           19      A. When the lawsuit was filed.
       20      Q. Do you know what this is?                     20      Q. So at the time the lawsuit was filed,
       21      A. No.                                           21   Dr. Craig told you that your loss of your leg was
       22      Q. Do you see your name in the caption?          22   caused by Tasigna, is that what you're saying?
       23   The caption is the part -- so if you turn to page   23      A. Yes.
       24   2 of the document, the caption is the part that's   24      Q. Other than your amputation, your leg
       25   on the upper left corner. It's in that box, if      25   amputation, do you think that Tasigna caused any


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        1   other of your injuries?                               1   your wife who reached out to the OnderLaw firm
        2      A. Yes.                                            2   about the lawsuit?
        3      Q. Which ones?                                     3       A. Correct.
        4      A. My right leg.                                   4       Q. We have Mr. Higgins here today. What
        5      Q. Can you be a little bit more specific?          5   other lawyers have you met with that represent
        6      A. I had to have extensive surgery on my           6   you?
        7   right leg.                                            7       A. Just Mr. Higgins.
        8      Q. Any other injuries?                             8       Q. Did you or your wife do any research
        9      A. No.                                             9   about which lawyer to hire for this case?
       10      Q. Specifically can you think of when you         10       A. No.
       11   decided to bring this lawsuit?                       11       Q. Do you know how your wife selected the
       12      A. When we seen the commercial.                   12   OnderLaw firm to call about the commercial?
       13      Q. And you testified that that was at the         13       A. There wasn't any other law firm. She
       14   end of 2016 or beginning of 2017?                    14   just seen the commercial, and we went from there.
       15      A. Probably 2017.                                 15       Q. Now, generally about this lawsuit, at
       16      Q. That's when you decided to bring this          16   any point in time, have you had any conversations
       17   lawsuit?                                             17   with anyone except your attorneys about this
       18      A. Yes.                                           18   litigation, Novartis or Tasigna or your injuries?
       19      Q. When did you first speak with an               19       A. No.
       20   attorney about a possible lawsuit?                   20       Q. So, for example, have you spoken to your
       21      A. After seeing the commercial probably two       21   doctors about this litigation?
       22   weeks' time.                                         22       A. No.
       23      Q. Would that be also the beginning of 2017       23       Q. Have you spoken to your cardiologist
       24   then?                                                24   about Tasigna?
       25      A. Yes.                                           25       A. Yes.
                                                       Page 27                                                  Page 29
        1      Q. And who initiated that conversation?            1       Q. Have you spoken to your cardiologist
        2      A. My wife.                                        2   about Tasigna possibly causing your amputation?
        3      Q. Your wife called an attorney to speak           3       A. Yes.
        4   about this commercial?                                4       Q. You testified earlier that your
        5      A. Yes.                                            5   cardiologist was Mr. Nagey; is that right?
        6      Q. What, if any, steps did you take after          6       A. Yes.
        7   the conversation with the attorneys?                  7       Q. Did you speak to Mr. Nagey about Tasigna
        8      A. They said they'd get back with me, which        8   possibly causing your amputation?
        9   they did, and they told us at that time --            9       A. Yes.
       10          MR. HIGGINS: Objection. I'm going to          10       Q. When did you speak to Mr. Nagey or
       11   instruct the witness not to divulge anything that    11   Dr. Nagey?
       12   the attorneys told you. That would be a waiver       12       A. Three-quarters of the way in 2017.
       13   your attorney/client privilege. So I'm               13          MR. HIGGINS: I'm sorry. Can we take a
       14   instructing you not to answer that question at       14   short break? I have a personal issue to tend to.
       15   this time.                                           15          MS. RYBICKI: Sure.
       16          MS. RYBICKI: That's reasonable.               16          MR. HIGGINS: Is there a question
       17   BY MS. RYBICKI:                                      17   pending?
       18      Q. You said your wife reached out to an           18          MS. RYBICKI: I would like another
       19   attorney. Do you remember the name of the            19   minute just to finish this line of questioning.
       20   attorney?                                            20          MR. HIGGINS: Sure.
       21      A. No. I don't remember.                          21          MS. RYBICKI: That way we can then move
       22      Q. Was it the OnderLaw firm?                      22   on.
       23      A. Yes.                                           23   BY MS. RYBICKI:
       24      Q. Just to be clear, the OnderLaw firm did        24       Q. So other than Dr. Nagey, have you talked
       25   not reach out to you about the lawsuit. It was       25   to any other doctors about Tasigna causing your



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        1   amputation?                                           1      Q. Who did you meet with?
        2       A. No.                                            2      A. Nick.
        3       Q. Have you spoken to your vascular doctor,       3      Q. Mr. Higgins; is that right?
        4   Dr. Malone, about your amputation or Tasigna          4      A. Um-hum.
        5   causing it?                                           5      Q. How long was this meeting?
        6       A. No.                                            6      A. Hour, hour and a half.
        7       Q. I know you don't remember your lung            7      Q. Did you review any medical records in
        8   doctor's name, but have you spoken to her about       8   preparation for this deposition?
        9   Tasigna causing any of your injuries?                 9      A. No.
       10       A. Yes.                                          10      Q. Did you review your Plaintiff Fact Sheet
       11       Q. Do you remember when that conversation        11   for this deposition?
       12   took place?                                          12      A. No.
       13       A. Beginning of 2018.                            13      Q. Did you review the medication guide or
       14       Q. And how did that conversation pan out?        14   labels for any pharmaceutical products that were
       15   What did you discuss?                                15   prescribed to you?
       16       A. I was getting fluid in my lung, and I         16      A. No.
       17   had to see my lung doctor and told her then that     17      Q. So you did not review any medication
       18   it could possibly be from Tasigna.                   18   guide or label for Tasigna to prepare for this
       19       Q. Would it be possible that these lung          19   deposition?
       20   issues -- strike that.                               20      A. No.
       21          Would it be possible that you discussed       21      Q. Did you speak with anyone else to
       22   with your lung doctor that your lung issues were     22   prepare for this deposition?
       23   associated with you taking SPRYCEL at the time?      23      A. There was another fellow with Nick. I
       24          MR. HIGGINS: Objection. Calls for             24   don't remember his name.
       25   speculation.                                         25      Q. Was he an attorney?
                                                       Page 31                                                 Page 33
        1           You can answer subject to the objection.      1       A. I don't know.
        2           THE WITNESS: Yes.                             2       Q. Was he affiliated with Mr. Higgins?
        3   BY MS. RYBICKI:                                       3       A. Yes. They was talking to me about it.
        4       Q. What about your family doctor,                 4       Q. Did you speak to your wife to prepare
        5   Dr. Malone, did you speak to Dr. Malone about         5   for this deposition?
        6   Tasigna possibly causing your injuries in this        6       A. Yes.
        7   case?                                                 7       Q. What did you speak about?
        8       A. I'm not sure.                                  8       A. I don't remember.
        9       Q. Finally, Dr. Craig, I think you                9       Q. Was it a long conversation or a short
       10   testified earlier that you did speak to Dr. Craig.   10   conversation?
       11       A. Yes.                                          11       A. It was short conversation.
       12       Q. You testified that you spoke to               12       Q. Did you speak to Dr. Craig to prepare
       13   Dr. Craig about Tasigna possibly causing your        13   for this deposition?
       14   injuries at the beginning of 2017; is that right?    14       A. No, ma'am.
       15       A. Correct.                                      15       Q. Did you speak to any friends to prepare
       16           MS. RYBICKI: Now would be a good time        16   for this deposition?
       17   for a break.                                         17       A. No.
       18           MR. HIGGINS: Thank you very much.            18       Q. Outside of Mr. Higgins and his associate
       19           (Recess from 10:43 a.m. to 10:47 a.m.)       19   or colleague, did you speak with any other
       20   BY MS. RYBICKI:                                      20   attorney to prepare for this deposition?
       21       Q. In terms of preparing for today's             21       A. No.
       22   deposition, did you meet with your counsel at all?   22       Q. Did you do anything to prepare for this
       23       A. Yes.                                          23   deposition?
       24       Q. How many times did you meet with them?        24       A. Just what Nick went over with me.
       25       A. Once.                                         25       Q. Did you watch any videos?


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        1      A. No.                                              1       A. Yes.
        2      Q. Did you read any informational papers?           2       Q. Florida is just somewhere you go to
        3      A. No.                                              3   vacation basically?
        4      Q. Did you research anything on the                 4       A. No.
        5   internet?                                              5       Q. You spend about four months a year in
        6      A. No.                                              6   Florida?
        7      Q. Did you have anyone like your wife               7           MR. HIGGINS: I'm going to object.
        8   research anything on the internet for you?             8   Mischaracterizes the testimony. I think he
        9      A. Dr. Craig did.                                   9   probably spends five months a year there.
       10      Q. For preparing for this deposition?              10   BY MS. RYBICKI:
       11      A. No.                                             11       Q. You can answer. About how many months a
       12      Q. Let's turn to your Plaintiff Fact Sheet,        12   year do you spend in Florida? You already
       13   Exhibit 3. If you turn to page 3 of your              13   testified you spend seven months in West Virginia;
       14   Plaintiff Fact Sheet.                                 14   is that right?
       15      A. Where it says Confidential?                     15       A. Say half and half. We spend evenly.
       16      Q. Yeah. Just generally have you been              16       Q. For your injuries that you're alleging
       17   married since 1990?                                   17   were caused by Tasigna, where did you receive most
       18      A. Yes.                                            18   of your treatment? Was that in West Virginia or
       19      Q. How old were you when you got married?          19   Florida?
       20      A. 30.                                             20       A. West Virginia.
       21      Q. Do you know your wife's date of birth?          21       Q. Did you receive any treatment in
       22      A. I don't remember, no. It's coming up.           22   Florida?
       23      Q. Do you know how old your wife is right          23       A. Yes.
       24   now?                                                  24       Q. What percentage of treatment for your
       25      A. 69.                                             25   Tasigna injuries would you say were treated in
                                                        Page 35                                                   Page 37
        1      Q. It states here in the address section in         1   Florida?
        2   the first chart there on page 3 that from 2014 on,     2       A. I got five stents put in in Florida.
        3   you have two addresses. It seems like you have a       3       Q. Would that be about 5 percent then?
        4   Grafton, West Virginia address and a Parish,           4       A. Yes.
        5   Florida address.                                       5       Q. So on page 3 of your Plaintiff Fact
        6          Do you see that?                                6   Sheet, you also list your employer as being
        7      A. Yes.                                             7   Grafton Housing Authority in the years 1989 to
        8      Q. Do you live at both locations currently?         8   2009.
        9      A. Yes.                                             9          Do you see that?
       10      Q. Do you live at any location at any              10       A. Yes.
       11   specific part of the year?                            11       Q. What kind of work did you perform as a
       12      A. We go to Florida during the winter              12   maintenance man?
       13   months here, then come back and stay the summer       13       A. Take out old cabinets, replace with new;
       14   here.                                                 14   replaced refrigerators, stove; work on water
       15      Q. So if you could tell me -- there's 365          15   leaks; put new siding on the buildings; painted;
       16   days in a year. How many days would you say that      16   cleaned; cut grass.
       17   you spend in West Virginia?                           17       Q. So would you say that your work as a
       18      A. I'm going to say seven months.                  18   maintenance man for the Grafton Housing Authority
       19      Q. If I asked you what you would say is            19   in the years 1989 to 2009 were labor intensive?
       20   your actual home, the place where you want to         20       A. Yes.
       21   reside in the future, what would that be? Would       21       Q. They required a lot of physical
       22   that be West Virginia or Florida?                     22   activity?
       23      A. Florida.                                        23       A. Yes.
       24      Q. Just to clarify, the place that you call        24       Q. Lifting heavy objects as well?
       25   home, would that be West Virginia?                    25       A. Yes.



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        1      Q. Did you get paid hourly or salary?              1   accident as the nature of the claim in the
        2      A. Hourly.                                         2   lawsuit?
        3      Q. Do you remember how much you were paid          3      A. Yes.
        4   per hour?                                             4      Q. This is the 1990 car accident that you
        5      A. 12.50.                                          5   were referring to; is that right?
        6      Q. Do you know how much you made in a year,        6      A. Yes.
        7   by any chance?                                        7      Q. We'll talk about that later. Let's move
        8      A. I don't recall.                                 8   on to page 12 of your Plaintiff Fact Sheet. On
        9      Q. How many hours a week did you work?             9   page 12, you see a chart that has the word
       10      A. 40.                                            10   Medication on the left column.
       11      Q. And you worked the entire year. You did        11          Do you see that?
       12   not have any breaks in that period between 1989 to   12      A. Yes.
       13   2009?                                                13      Q. Do you see where it says that you took
       14      A. Took vacation.                                 14   Gleevec between 2011 and 2013?
       15      Q. Just vacations. Okay. Did you receive          15      A. Yes.
       16   any education or training for that job?              16      Q. Do you know that Gleevec sometimes is
       17      A. Yes. I got educated on furnaces.               17   medically called imatinib?
       18      Q. Where did you get this education?              18      A. I don't recall.
       19      A. The Housing Authority supplied it.             19      Q. Then it says that you took SPRYCEL from
       20      Q. Any other education or training for your       20   2018 to the present.
       21   job?                                                 21          Do you see that?
       22      A. No.                                            22      A. Yes.
       23      Q. Did you finish high school?                    23      Q. Are you aware that SPRYCEL is sometimes
       24      A. Yes.                                           24   referred to as dasatinib?
       25      Q. Which one?                                     25      A. Yes.
                                                       Page 39                                                    Page 41
        1       A. Grafton.                                       1       Q. On page 7 in Section 3 where it says
        2       Q. What about college?                            2   "Tasigna Use," it states that you used Tasigna
        3       A. No.                                            3   approximately from 2014 to May of 2018.
        4       Q. Why did you leave your job at Grafton          4          Do you see that?
        5   Housing Authority in 2009?                            5       A. Yes. Yes, I see it.
        6       A. I was unable to perform my duties.             6       Q. Are you aware that Tasigna is sometimes
        7       Q. Why is that?                                   7   referred to as nilotinib?
        8       A. I was burnt up in a car accident, and my       8       A. Yes.
        9   burns was causing a lot of pain and agony.            9       Q. Do you typically refer to this
       10       Q. I recall your car accident taking place       10   medication a nilotinib or Tasigna?
       11   in 1990.                                             11       A. Tasigna.
       12       A. Yes, ma'am.                                   12       Q. When we go over medical records in this
       13       Q. So you're saying your burns were still        13   deposition, I will try to call it Tasigna, but I
       14   affecting you in 2009?                               14   want you to understand that sometimes the medical
       15       A. Oh, yes. They still affect me today.          15   records may sometimes say nilotinib. Is that
       16       Q. Have you been employed since 2009?            16   okay?
       17       A. No, ma'am.                                    17       A. Yes.
       18       Q. Speaking of your accident, I would like       18       Q. Let's move on Exhibit 4, which would be
       19   to show you -- Exhibit 6 is an article about your    19   the March 17, 2011 medical record. That should be
       20   asphalt accident.                                    20   at the very beginning.
       21          On page 5 of your PFS, you mentioned an       21       A. I see it.
       22   incident. On page 5 of your PFS in letter M, it      22       Q. Mr. Menear, do you see in the middle of
       23   says, "Have you ever brought a personal injury       23   the page, it says date of service, March 17, 2011?
       24   lawsuit against anyone?" And you said, "Yes." Do     24       A. Yes.
       25   you see in section M.c. where you list the auto      25       Q. You see your name is right there as



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        1   patient name, Allen Menear?                           1       Q. Is that true?
        2       A. Yes.                                           2       A. Yes.
        3       Q. I'll bring up this document later. For         3       Q. Did she have a heart attack?
        4   now I want to use it to discuss your family           4       A. Yes.
        5   history. Okay?                                        5       Q. Do you know what led to her heart
        6       A. Okay.                                          6   attack?
        7       Q. Can you please turn to the second page.        7       A. Blood clot.
        8   You see there's a title that says Past Medical        8       Q. Do you know if your mother had any other
        9   History. Do you see that?                             9   heart problems?
       10       A. Yes.                                          10       A. No.
       11       Q. The past medical history section states,      11       Q. Do you know if she had diabetes?
       12   1., hypertension for years, 2., history of gout,     12       A. No.
       13   3., history of cholelithiasis, 4., back surgery      13       Q. Do you know if she had high blood
       14   times three, 5., history of skin grafting, 6.,       14   pressure?
       15   motor vehicle collision with multiple burns, 7.,     15       A. I do believe so, yes.
       16   history of surgical procedures for skin grafting     16       Q. What about heart disease?
       17   and bone repair, and 8., history of total knee       17       A. Not to my knowledge, no.
       18   replacement on his right.                            18       Q. What about peripheral vascular disease?
       19          Do you see that?                              19       A. No.
       20       A. Yes.                                          20       Q. Now, the next line in that section says,
       21       Q. Is that a fair and accurate                   21   "He has a half brother with coronary disease." Do
       22   representation of your medical history as of 2011?   22   you see that?
       23       A. Yes.                                          23       A. No. I don't see where...
       24       Q. Then if you go down on that same page,        24       Q. It's in the family history section right
       25   there's a section called Family History. Do you      25   after the sentence about your mother that we just
                                                       Page 43                                                  Page 45
        1   see that? It's second from the bottom paragraph.      1
                                                                      read. It says, "He has a half brother with
        2      A. Yes, ma'am.                                     2
                                                                      coronary disease."
        3      Q. Do you see where it says, "His farther          3
                                                                         A. Yes, I see it.
        4   died from metastatic cancer at age 69 in his          4
                                                                         Q. Is that true?
        5   lung"?                                                5
                                                                         A. Yes.
        6      A. Yes.                                            6
                                                                         Q. Which side is this brother from, your
        7      Q. Is that true?                                   7
                                                                      mother's or your father's?
        8      A. Yes.                                            8
                                                                         A. My mom.
        9      Q. Did your father have any other health           9
                                                                         Q. Is your half brother related to you by
       10   problems?                                            10
                                                                      blood?
       11      A. He got gout.                                   11
                                                                         A. Yes.
       12      Q. Did your father have diabetes?                 12
                                                                         Q. Is he still suffering from coronary
       13      A. No.                                            13
                                                                      artery disease?
       14      Q. Did your father have hypertension?             14
                                                                         A. He still has it, yes.
       15      A. No.                                            15
                                                                         Q. Do you know what his symptoms are?
       16      Q. High blood pressure?                           16
                                                                         A. I believe his heart will jump time, race
       17      A. I don't believe.                               17
                                                                      on him.
       18      Q. Heart disease?                                 18
                                                                         Q. Do you know if he has any other health
       19      A. No, not to my knowledge.                       19
                                                                      problems?
       20      Q. Did your father have peripheral vascular       20
                                                                         A. I don't believe he does.
       21   disease?                                             21
                                                                         Q. In the last sentence there, it says, "He
       22      A. No.                                            22
                                                                      has a full sister with diabetes mellitus."
       23      Q. Next line, it says, "His mother died at        23
                                                                             Do you see that?
       24   age 68 from heart disease." Do you see that?         24
                                                                         A. Yes.
       25      A. Yes.                                           25
                                                                         Q. Is that true?


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        1      A. Yes.                                           1       A. Yes.
        2      Q. Is your sister still alive today?              2       Q. I'm going to read it to you. It says,
        3      A. Yes, ma'am.                                    3   "The risk of early onset of coronary artery
        4      Q. Does she have vascular problems in her         4   disease is doubled as compared to the noncarriers
        5   extremities?                                         5   in patients with this genotype. Additionally, the
        6      A. I don't believe so, no.                        6   risk of abdominal aortic aneurysm is increased by
        7      Q. Do you know if your sister has any heart       7   70 percent, and the risk of coronary heard disease
        8   problems?                                            8   is increased by 60 percent as compared to the
        9      A. No.                                            9   noncarriers."
       10      Q. Does she have high blood pressure?            10          Do you see that?
       11      A. Yes.                                          11       A. Yes.
       12      Q. Let's move on to our next exhibit,            12       Q. Did Dr. Sedillo go over these results
       13   Exhibit 5. This would be the March 1, 2016          13   with you?
       14   genetic testing. Do you see where in the upper      14       A. Not that I believe.
       15   right-hand section it says X-Gene Diagnostics?      15       Q. Did he tell you your genetic makeup left
       16      A. Okay.                                         16   you at 70 percent greater risk for abdominal
       17      Q. Do you see that?                              17   aortic aneurysm?
       18      A. Yes.                                          18       A. No.
       19      Q. And this is entitled Abbreviated Cardiac      19       Q. Did he tell you that your genetic makeup
       20   Health Profile.                                     20   left you at 60 percent greater risk of heart
       21          Do you see that?                             21   disease?
       22      A. Yeah.                                         22       A. No.
       23      Q. It says that it's created for Allen           23       Q. What did Dr. Sedillo tell you as a
       24   Menear. Is that right?                              24   result of this genetic test?
       25      A. That's what it says.                          25       A. Not much. I don't recall any of this.
                                                      Page 47                                                    Page 49
        1      Q. That's you; right?                             1       Q. Dr. Sedillo didn't relate your mother's
        2      A. Yes.                                           2   passing to your genetic testing, by any chance?
        3      Q. Did Dr. Sedillo order this test for you?       3       A. Was she gone by then? She was still
        4      A. I believe so.                                  4   living.
        5      Q. Dr. Sedillo is your cardiologist?              5       Q. What about your mother's heart disease?
        6      A. No. I believe he's the doctor I seen           6       A. He possibly could have said something.
        7   down Florida.                                        7       Q. Does your genetic testing clarify
        8      Q. What type of doctor is he?                     8   anything for you about your heart disease or
        9      A. Vascular.                                      9   peripheral vascular disease?
       10      Q. Do you remember why he ordered this test      10       A. Not that I remember.
       11   for you?                                            11       Q. Let's turn to Exhibit 6, which is the
       12      A. I had blockage in my legs.                    12   article about the asphalt incident. I'm going to
       13      Q. Do you remember taking this test?             13   read the first paragraph of that article. Do you
       14      A. Yes.                                          14   see that it's entitled Asphalt Trap?
       15      Q. Let's go to page 4. Do you see at the         15       A. Yes.
       16   bottom towards the center actually says coronary    16       Q. Do you see it says Story? At the bottom
       17   artery disease?                                     17   it starts with Story?
       18      A. Yes.                                          18       A. Yes.
       19      Q. Under that section it says,                   19       Q. I'm going to read that first paragraph
       20   "Significantly increased risk of coronary artery    20   to you to kind of refresh your recollection. Then
       21   disease."                                           21   I'm going to ask you some questions about the 1990
       22          Do you see that?                             22   accident.
       23      A. Yes.                                          23           It says here, "On the morning of
       24      Q. And then right below that where it says       24   April 23, 1990, outside of Grafton, West Virginia,
       25   "The risk of early onset," do you see that?         25   many Department of Highway trucks were out in



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        1   force to repair potholes and other road damage        1       A. No.
        2   left by winter weather. 30-year-old Allen Menear      2       Q. Would you say that the damage was more
        3   and fiance, Dawn Keener, were westbound on U.S.       3   severe in your right leg?
        4   Route 50 that day taking their dog, Dana, to the      4       A. Oh, yes.
        5   groomers not knowing that this drive would change     5       Q. Is it true that at some point you
        6   their lives forever."                                 6   discussed amputation with your doctor?
        7           Do you see that?                              7       A. Yes.
        8       A. Yes.                                           8       Q. Was that for your right leg?
        9       Q. Does that sound right about your               9       A. Yes.
       10   accident?                                            10       Q. Why was that considered an option?
       11       A. Yes.                                          11       A. They didn't believe they could save my
       12       Q. Can you just tell us generally about          12   leg, and I told them I didn't want an amputation.
       13   your car accident, what happened?                    13       Q. You got plastic surgery; right?
       14       A. They was coming around a curve, and we        14       A. Yes.
       15   was in the curve, and he ran off the berm and        15       Q. Do you have any medical records for any
       16   jerked his truck back, and he started hopping up     16   of the procedures that we just discussed?
       17   the road and hit my car and busted the front         17       A. I'm not really sure.
       18   windshield out, and all the asphalt poured in on     18       Q. Did you try to get those records, by any
       19   me, me and my wife.                                  19   chance?
       20       Q. Do you remember when this took place?         20       A. Yes.
       21       A. April 23.                                     21       Q. What did you do to try to get those
       22       Q. Did you require surgery to fix your           22   records?
       23   injuries?                                            23       A. Our lawyers got all the records.
       24       A. Plenty of them, many.                         24       Q. Did you see any of them, the records?
       25       Q. Do you remember which type of surgeries?      25       A. Yes.
                                                       Page 51                                                   Page 53
        1      A. Skin grafts.                                    1       Q. Do your lawyers have the records?
        2      Q. Anything else?                                  2       A. No. I believe we do.
        3      A. Total knee rebuild.                             3       Q. If you have the records about your
        4      Q. Anything else?                                  4   1990 -- specifically your medical records
        5      A. I believe that's it.                            5   pertaining to your 1990 accident, we would like
        6      Q. The skin graft, which leg was that              6   those records.
        7   performed on?                                         7          MR. HIGGINS: Noted.
        8      A. The right leg.                                  8   BY MS. RYBICKI:
        9      Q. Not the left?                                   9       Q. I'll note for the record counsel can
       10      A. No.                                            10   introduce those. You can just give those to your
       11      Q. What about the -- you said the knee            11   attorneys and they can hand those over to us.
       12   replacement; right? Which knee was replaced?         12          How long did it take you to recover from
       13      A. My right knee was burnt clear to the           13   this incident?
       14   bone.                                                14       A. A year and a half.
       15      Q. Did you have damage to muscle in both          15       Q. Did you ever regain full use of both of
       16   legs?                                                16   your legs?
       17      A. No, just the right leg.                        17       A. Not full use, no.
       18      Q. What about damage to the bone, which           18       Q. How were you limited after the accident?
       19   leg?                                                 19       A. My knee.
       20      A. Right leg.                                     20       Q. Can you explain how you were limited
       21      Q. What about damage to the veins, which          21   with your knee?
       22   leg?                                                 22       A. I couldn't straighten it or bend it as
       23      A. Right leg.                                     23   much as I should.
       24      Q. Did you have any vascular procedures, do       24       Q. So you weren't able to do squats, for
       25   you remember?                                        25   example?


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        1       A. No. Wasn't supposed to do squats or            1        Q. Let's move to Exhibit 7, which would be
        2   anything like that.                                   2   an April 16, 2012 record. Would be uncomfortable
        3       Q. As for everyday activities, can you tell       3   2 probably?
        4   me what limitations you had because of your           4           MR. HIGGINS: 4/16?
        5   injuries?                                             5           MS. RYBICKI: Yeah, 4/16/12.
        6       A. I had to watch banging my leg because          6   BY MS. RYBICKI:
        7   since it was burnt, my skin was so soft, if I just    7        Q. In the middle of the page there, do you
        8   touched it, I would get a cut. And I didn't have      8   see where it says West Virginia University
        9   much feeling. A lot of times I'd bleed large          9   Hospitals?
       10   amounts.                                             10        A. Yes, ma'am.
       11       Q. What about things like going up the           11        Q. So is it fair to say this is a record
       12   stairs, were you able to do that?                    12   from West Virginia University Hospital?
       13       A. Not at first.                                 13        A. Yes.
       14       Q. How long did it take you to be able to        14        Q. On the left-hand corner, do you see that
       15   walk up the stairs?                                  15   it's dated April 17, 2012?
       16       A. Probably two years.                           16        A. Yes.
       17       Q. But ultimately since that incident, were      17        Q. Do you see your name is there as Allen
       18   you able to walk again and do all your normal        18   Menear?
       19   physical activities?                                 19        A. Yes.
       20       A. I wouldn't say all. Yeah, I could walk        20        Q. Under that, do you see where it says
       21   again.                                               21   Chief Complaint: Pain in joints?
       22       Q. When you say you wouldn't say all, what       22        A. Yes.
       23   things weren't you able to do?                       23        Q. Right below that it says HPI.
       24       A. I couldn't get down on my knee. I             24           Do you see that?
       25   couldn't put any weight on my knee.                  25        A. Yes.
                                                       Page 55                                                  Page 57
        1      Q. Did you take pain medications during            1      Q. I'll represent to you that HPI stands
        2   your treatment?                                       2   for history of present illness. It says here,
        3      A. Yes.                                            3   "White male who presents with painful elbows,
        4      Q. Do you remember which ones?                     4   knees and ankles."
        5      A. Percocets.                                      5          Do you see that?
        6      Q. How long did you take Percocet?                 6      A. Yes.
        7      A. Six months.                                     7      Q. This pain that you had, did you have
        8      Q. Did you take oxycodone?                         8   this pain when walking, when at rest or both?
        9      A. Yes.                                            9      A. Both.
       10      Q. For how long?                                  10      Q. A little further on, it says, "Over the
       11      A. Four months.                                   11   past two days, pain has worsened. He was unable
       12      Q. Did you take any other medications?            12   to walk. Pain uncontrolled with hydrocodone.
       13      A. No.                                            13   Pain currently 10 out of 10 and sharp."
       14      Q. Did you ever become addicted to any of         14          Do you see that?
       15   the medication you took?                             15      A. Yes.
       16      A. No.                                            16      Q. So in April of 2012, you described your
       17      Q. Were you able to work again after the          17   pain as 10 out of 10; is that right?
       18   incident?                                            18      A. Yes.
       19      A. Yes.                                           19      Q. You were not able to walk?
       20      Q. Where did you work?                            20      A. No.
       21      A. Grafton Housing Authority.                     21      Q. This pain was in both of your legs;
       22      Q. Just to make sure the record is clear,         22   right?
       23   you did not work anywhere else other than the        23      A. Yes.
       24   Grafton Housing Authority between 1989 and 2009?     24      Q. And more specifically your left knee and
       25      A. Correct.                                       25   your left ankle? That's okay if you don't


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        1   remember.                                           1   any way for your gout, by any chance?
        2      A. I don't remember.                             2      A. Yes.
        3      Q. We can go back to that HPI section, line      3      Q. What were these life alteration?
        4   2 where it says, "Joints involved include left      4      A. Don't eat rich foods, steaks, shrimp,
        5   knee, left ankle and both elbows."                  5   lobster.
        6         Do you see that?                              6      Q. All the good stuff.
        7      A. Yes.                                          7      A. All the good stuff, yeah.
        8      Q. Is it fair to say that you had 10 out of      8      Q. Stay away from the good stuff is what
        9   10 pain in your left knee and your left ankle?      9   the doctors say. Anything else the doctors tell
       10      A. Yes.                                         10   you to alter your lifestyle?
       11      Q. If you go down to the section where it       11      A. Don't drink beer.
       12   says Past Medical, do you see that?                12      Q. Still with the good stuff.
       13      A. Yes.                                         13      A. Yeah.
       14      Q. The fourth bullet point says gout.           14      Q. Anything else do you remember?
       15      A. Yes.                                         15      A. That's it.
       16      Q. Do you know what gout is?                    16      Q. If you go back to that HPI section, in
       17      A. Yes.                                         17   the fourth line, there's a sentence that says,
       18      Q. What is gout?                                18   "Normally flares respond to colchicine until he
       19      A. It's a form of arthritis. And that's         19   developed diarrhea. Symptoms did not improve."
       20   what I had, was causing my pain in my joints.      20         So you is it fair to say that colchicine
       21      Q. When did you first experience gout?          21   was your gout medication?
       22      A. 1994.                                        22      A. Yes.
       23      Q. How severe was your gout in 1994?            23      Q. Is it fair to say that you took your
       24      A. Second worst pain I ever had.                24   gout medication, but you still had this 10 out of
       25      Q. What was your first worst pain? I think      25   10 pain in your left knee and your left ankle?
                                                     Page 59                                                   Page 61
        1   I know what it is, but tell me anyway.              1      A. Occasionally, yes.
        2       A. My burns.                                    2      Q. So sometimes the medicine would work and
        3       Q. Your gout was where in 1994?                 3   sometimes it wouldn't?
        4       A. In my ankles.                                4      A. Yes.
        5       Q. So is it fair to say that you've had         5      Q. If you go to page 2 where it says
        6   gout from 1994 to the date of this record, which    6   Medications Prior to Admission, do you see that?
        7   is 2012?                                            7      A. What was it again?
        8       A. Yeah.                                        8      Q. Medications Prior to Admission.
        9       Q. Is that a "yes"?                             9      A. Yes.
       10       A. Yes.                                        10      Q. You see there's a list of medications
       11       Q. Do you have gout today?                     11   that you were taking before you were admitted in
       12       A. No, ma'am.                                  12   April 2012. Do you see that?
       13       Q. So did you ever see a doctor for your       13      A. Yes.
       14   gout?                                              14      Q. Let's quickly go through those
       15       A. Yes.                                        15   medications so that we can figure out what you
       16       Q. Which doctor?                               16   were taking at the time. Do you see where it says
       17       A. I don't remember.                           17   oxycodone?
       18       Q. So it's fair to say you've seen a doctor    18      A. Yes.
       19   for your gout?                                     19      Q. That's a pain medication; right?
       20       A. Yes.                                        20      A. Yes.
       21       Q. Have you seen more than one doctor?         21      Q. What were you taking that for?
       22       A. Yes.                                        22      A. The gout.
       23       Q. You've seen these doctors from 1994 on?     23      Q. Anything else?
       24       A. Yes.                                        24      A. Advil.
       25       Q. Were you told to alter your lifestyle in    25      Q. No. I'm just saying did you take



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        1   oxycodone for any other reason?                      1      Q. And this is also for your leg pain?
        2      A. No.                                            2      A. Yes.
        3      Q. Do you remember when you started taking        3      Q. Both legs; right?
        4   oxycodone?                                           4      A. Yes.
        5      A. Right after the car accident when I come       5      Q. Do you remember when you started using
        6   home.                                                6   this drug?
        7      Q. You started taking oxycodone for your          7      A. Probably 1991.
        8   car accident in 1990 and you continued taking it     8      Q. Do you know how often you took it?
        9   because your gout developed; is that right?          9      A. Maybe once a day.
       10      A. Yes.                                          10      Q. Let's go down to the next drug. It is
       11      Q. How often did you take it?                    11   called diclofenac sodium. Do you see that?
       12      A. Maybe every other day.                        12      A. Yes.
       13      Q. Then the next drug is Meloxicam. Do you       13      Q. I believe this is a cream for arthritis.
       14   see that?                                           14   Do you think that's right?
       15      A. Yes.                                          15      A. Yeah.
       16      Q. Do you know what this drug is? If I           16      Q. Do you remember what you used this for?
       17   told you that it was an anti-inflammatory           17      A. For arthritis. It didn't work. I
       18   medication used to treat things like arthritis,     18   didn't use it.
       19   would that sound right?                             19      Q. But it was prescribed for you for both
       20      A. Yes.                                          20   legs?
       21      Q. Why were you on anti-inflammatories?          21      A. Yeah.
       22      A. Because they thought I had arthritis in       22      Q. And your gout?
       23   my joints.                                          23      A. And my arms.
       24      Q. Did you experience arthritis in your          24      Q. Arms and legs?
       25   joints?                                             25      A. Yeah, and my elbows.
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        1                                                        1       Q. What about the next drug, which is
               A. Yes.
        2                                                        2   furosemide. Do you see that? If I represented to
               Q. Did you take these anti-inflammatories
        3                                                        3   you this was a diuretic medication used to treat
            for your gout as well?
        4                                                        4   fluid buildup due to heart failure and kidney
               A. Yes.
        5                                                        5   disease and high blood pressure, does that sound
               Q. And were you having leg pain at the
        6                                                        6   right?
            time?
        7                                                        7       A. Yes.
               A. Yes.
        8                                                        8       Q. Do you know why you were taking this?
               Q. So you were taking this
        9                                                        9       A. I believe I had high blood pressure.
            anti-inflammatory for leg pain?
       10                                                       10       Q. So you were diagnosed with high blood
               A. Yes.
       11                                                       11   pressure at this point?
               Q. That would be leg pain in both of your
       12                                                       12       A. Yes.
            legs; right?
       13                                                       13       Q. Do you remember specifically when you
               A. Oh, yes.
       14                                                       14   were diagnosed with high blood pressure? This
               Q. Again, we're talking about 2012 right
       15                                                       15   record is from 2012, but it seems you might have
            now. You realize that; right?
       16                                                       16   been diagnosed with high blood pressure earlier.
               A. Yes.
       17                                                       17       A. Oh, yeah. Probably 1996.
               Q. The next drug is tramadol. Do you see
       18                                                       18       Q. Do you remember who diagnosed you?
            that?
       19                                                       19       A. Dr. Malone I believe.
               A. Yes.
       20                                                       20       Q. You trusted Dr. Malone that this
               Q. This is another opioid pain medication;
       21                                                       21   condition needed to be treated; right?
            right?
       22                                                       22       A. Yes.
               A. Yes, I believe it is.
       23                                                       23       Q. You trusted Dr. Malone that this
               Q. You agree this is a pain medication;
       24                                                       24   medication was the best treatment for your high
            right?
       25                                                       25   blood pressure; right?
               A. Yes.


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        1      A. That's what I was told.                          1       Q. The next drug is Febuxostat. Do you see
        2      Q. The next drug is indomethacin. Do you            2   that?
        3   see that this is also an anti-inflammatory; right?     3       A. Yes, ma'am.
        4      A. Yes.                                             4       Q. My understanding is this is a gout
        5      Q. Is it fair to say you were taking this           5   medication. Would you agree with that?
        6   for your gout and leg pain as well?                    6       A. Yes.
        7      A. I can't recall.                                  7       Q. We've already covered your gout
        8      Q. That's okay. There's a lot here. I               8   problems. But it's is it fair to say you were
        9   don't expect you to remember everything. Let's         9   taking this for your gout?
       10   move on to the next one. Duloxetine, do you see       10       A. When they started me on this, I never
       11   that?                                                 11   had a bout with gout ever again.
       12      A. Yes.                                            12       Q. So Febuxostat actually works for you?
       13      Q. I think it's also known as Cymbalta.            13       A. Yes.
       14      A. Yes.                                            14       Q. When did you start taking it?
       15      Q. That's for depression; right?                   15       A. '96.
       16      A. They gave it to me for, yeah,                   16       Q. Do you still take it?
       17   depression.                                           17       A. Yes.
       18      Q. Was your car accident the reason for            18       Q. Have you ever stopped taking it for any
       19   your depression?                                      19   reason?
       20      A. Yes.                                            20       A. No.
       21      Q. Did your depression start right after           21       Q. How often do you take it?
       22   your car accident?                                    22       A. Once a day.
       23      A. Yes, ma'am.                                     23       Q. But not today. You forgot your morning
       24      Q. How did you feel?                               24   pills; right?
       25      A. Less of a man.                                  25       A. Well, I take it in the evening.
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        1      Q. Who diagnosed you with depression, do            1      Q. Don't forget that. So the next drug is
        2   you recall?                                            2   Colchicine which we discussed briefly earlier. I
        3      A. Dr. Malone.                                      3   think this is the gout medication; right?
        4      Q. Would you say that your depression               4      A. Yes.
        5   continued on from 1990?                                5      Q. Did you also start taking that in 1996?
        6      A. I take it today.                                 6      A. Yes.
        7      Q. Between 1990 and now, you were taking            7      Q. Do you still take it now?
        8   Cymbalta for depression?                               8      A. Yes, ma'am.
        9      A. Yes, ma'am.                                      9      Q. The next drug is rosuvastatin. Do you
       10      Q. The next drug is atenolol. Do you see           10   see that?
       11   that?                                                 11      A. Yes.
       12      A. Yes.                                            12      Q. It also goes by Crestor; right?
       13      Q. This is for hypertension?                       13      A. Yes.
       14      A. Yes.                                            14      Q. Were you taking this for hyperlipidemia?
       15      Q. You know hypertension is high blood             15      A. Yes.
       16   pressure; right?                                      16      Q. Do you remember when you were diagnosed
       17      A. Yes.                                            17   with hyperlipidemia?
       18      Q. So is it fair to say you were taking            18      A. Probably '92, right after the accident.
       19   this for your high blood pressure?                    19      Q. Do you remember who diagnosed you?
       20      A. Still do.                                       20      A. Dr. Malone.
       21      Q. Do you remember when you started taking         21      Q. The next drug is pregabalin. Do you see
       22   that? Do you think it was the same time as you        22   that?
       23   started taking your other drug for high blood         23      A. Yes.
       24   pressure in 1996?                                     24      Q. Also goes by Lyrica; right?
       25      A. Yes.                                            25      A. I don't remember. I don't know.



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        1       Q. If you look at the third one from the          1      A. What do you mean by consistent?
        2   bottom, where it says pregabalin, in parentheses      2      Q. That it didn't stop, meaning it was
        3   it says Lyrica. Do you see that?                      3   always there.
        4       A. Lyrica, yes. I still take it.                  4      A. Yes.
        5       Q. What is that for?                              5      Q. So between 1990 and the present, you
        6       A. Nerves.                                        6   always had anxiety?
        7       Q. Can you give me a little bit more than         7      A. Yes.
        8   the nerves? Explain that to me, please.               8      Q. Same thing about stress?
        9       A. It's supposed to help calm down my             9      A. Yes.
       10   nerves because I have tingling in my legs from the   10      Q. The same thing about the trouble
       11   accident.                                            11   sleeping?
       12       Q. When did you start taking it?                 12      A. Yes.
       13       A. '91.                                          13      Q. What about your depression? I know you
       14       Q. Are you taking it every day -- have you       14   mentioned that earlier, too.
       15   taken it consistently until today?                   15      A. Yes.
       16       A. Yes.                                          16      Q. Also consistent?
       17       Q. Is that because you had tingling in your      17      A. Yeah.
       18   legs this entire time?                               18      Q. The very last drug here is imatinib,
       19       A. Yes.                                          19   which is known as Gleevec. We briefly discussed
       20       Q. Do you know who prescribed this to you?       20   that. You know that's your cancer drug at this
       21       A. Dr. Malone.                                   21   point?
       22       Q. We're getting there. We're almost             22      A. Yeah.
       23   there. Second to last one is zolpidem also known     23      Q. So if we go to page 5, do you see the
       24   as Ambien. Do you see that?                          24   Assessment/Plan section? It's the second to last
       25       A. Yes.                                          25   page right in the center you should see
                                                       Page 71                                                  Page 73
        1      Q. Is Ambien a sleeping pill?                      1   Assessment/Plan.
        2      A. Yes.                                            2       A. Yes.
        3      Q. Do you have trouble sleeping?                   3       Q. Do you see where it says your primary
        4      A. Yes.                                            4   problem was a gout attack?
        5      Q. Is it fair to say you've had trouble            5       A. Yes.
        6   sleeping from the date of your accident in 1990       6       Q. Then you had uncontrolled pain?
        7   until today?                                          7       A. Yes.
        8      A. Mostly it was when they told me I had           8       Q. And DVT which is deep venous thrombosis?
        9   cancer.                                               9       A. Yes.
       10      Q. Did you take Ambien in 1990 after your         10       Q. And muscle pain?
       11   accident?                                            11       A. Yes.
       12      A. Yes.                                           12       Q. So you were diagnosed with DVT here in
       13      Q. And when did you stop taking it?               13   April of 2012; right?
       14      A. I'm still taking it.                           14       A. Yes.
       15      Q. You've been taking it this entire time,        15       Q. If you go down another section, it says
       16   from 1990 to the present?                            16   DVT. Let me know if you see that.
       17      A. Yes.                                           17       A. Yes.
       18      Q. You just said you experienced difficulty       18       Q. It says, "Recannulated. Will treat with
       19   sleeping more because of your cancer diagnosis.      19   Lovenox, known malignancy." Do you see that?
       20      A. Yes.                                           20       A. Yes.
       21      Q. Have you experienced stress between 1990       21       Q. It says, "Await surgical options prior
       22   and the present?                                     22   to starting warfarin." Do you see that?
       23      A. Yes.                                           23       A. Yes.
       24      Q. Have you experienced anxiety                   24       Q. Do you know what Lovenox is?
       25   consistently between 1990 and the present?           25       A. Lovenox, no, I don't.



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                                                        Page 74                                                   Page 76
        1      Q. If I said it's a blood thinner, would            1      Q. You were on Coumadin long term after
        2   that sound right?                                      2   this; right?
        3      A. Yes.                                             3      A. Yes.
        4      Q. If I said warfarin is a blood thinner as         4      Q. Right below there it says Condition on
        5   well, would that sound right?                          5   Discharge. Do you see that section?
        6      A. Yes.                                             6      A. Yes, ma'am.
        7      Q. Did you trust your doctor at the time            7      Q. Do you see it says, "Ambulation is full
        8   that your DVT needed to be treated with these          8   with cane"?
        9   medications?                                           9      A. Yes.
       10      A. Yes.                                            10      Q. So you needed a cane after this event?
       11      Q. Exhibit 8 would be the April 19, 2012           11      A. Yes.
       12   West Virginia University discharge summary. Just      12      Q. Had you needed a cane prior to this
       13   take a second to look at that document. This is a     13   event?
       14   discharge summary; right?                             14      A. I don't think so, no.
       15      A. Yes.                                            15      Q. So you needed a cane because of your DVT
       16      Q. It shows you stayed in the hospital from        16   and gout in your left leg; right?
       17   April 16 until April 19, 2012; right?                 17      A. Yes.
       18      A. Yes.                                            18      Q. Let's move on to the next exhibit. It
       19      Q. Do you remember this visit was for pain         19   would be the May 10, 2012 West Virginia University
       20   in your left leg?                                     20   record. Just to make sure there's two May 10,
       21      A. No. I don't remember.                           21   2012 records. We're looking at the one that's the
       22      Q. Let's take a look at the reason for             22   West Virginia University discharge.
       23   hospitalization and hospital course. The second       23           If you look at the top there, it says
       24   sentence says, "On admission a LE duplex was          24   West Virginia University Hospitals Discharge
       25   performed for swelling and a DVT was found."          25   Summary. Do you see that?
                                                        Page 75                                                   Page 77
        1         Do you see that?                                 1      A. Um-hum.
        2      A. Yes.                                             2      Q. This is another discharge summary;
        3      Q. Does this refresh your recollection that         3   right?
        4   this was for leg pain?                                 4      A. Yes.
        5      A. Yes.                                             5      Q. This is an admission date of May 7, 2012
        6      Q. A little further down, it says you were          6   and a discharge date of May 10, 2012; right?
        7   discharged on day three. "Nutritionist was             7      A. Yes.
        8   consulted and spoke with patient about dietary         8      Q. This is less than a month after the last
        9   changes for both Coumadin therapy and a low uric       9   record we just talked about; right?
       10   acid diet."                                           10      A. Yes.
       11         Do you see that?                                11      Q. This was another three to four-day
       12      A. Yeah, I see it.                                 12   hospital stay?
       13      Q. Do you remember a nutritionist speaking         13      A. Yes.
       14   to you about dietary changes?                         14      Q. Quickly let's look at the discharge
       15      A. I don't remember.                               15   medications below. Do you see that section?
       16      Q. Then it also says, "Patient will discuss        16      A. Yes.
       17   the need for long-term treatment with Coumadin        17      Q. I'm going to list them real quick you
       18   beyond the six-month point with his PCP and           18   and tell me if they show up there. Allopurinol?
       19   oncologist, Dr. Craig."                               19      A. Yes.
       20         Do you see that?                                20      Q. Do you see colchicine?
       21      A. Yes.                                            21      A. Yes.
       22      Q. Coumadin is a blood thinner; right?             22      Q. Do you see prednisone?
       23      A. Yes.                                            23      A. Yes.
       24      Q. You needed that to prevent more clots?          24      Q. Warfarin?
       25      A. Yes.                                            25      A. I don't remember.


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        1                                                          1      A. Yes.
               Q. So you don't remember warfarin?
        2                                                          2      Q. Did your doctors explain to you why you
               A. No.
        3                                                          3   needed each one?
                   MR. HIGGINS: Is it listed on the
        4                                                          4      A. No, he didn't.
            document?
        5                                                          5      Q. Would that be mostly Dr. Malone then?
                   MS. RYBICKI: Very top of that page.
        6                                                          6      A. Yes.
                   THE WITNESS: I don't see it.
        7                                                          7      Q. But did Dr. Malone explain to you what
            BY MS. RYBICKI:
        8                                                          8   the purpose at least most of these drugs was?
               Q. Right here (indicating).
        9                                                          9      A. Yes.
               A. That's not the top of the page.
       10                                                         10      Q. And did you trust Dr. Malone to make
               Q. Warfarin is a blood thinner for DVT;
       11                                                         11   that judgment?
            right?
       12                                                         12      A. Yes.
               A. Yes.
       13                                                         13      Q. Is that because Dr. Malone is a medical
               Q. You're saying you're not sure if you
       14                                                         14   professional who is trained and you trust him to
            were taking it at the time?
       15                                                         15   make such decisions?
               A. Not sure.
       16                                                         16      A. Yes.
               Q. But that's what the record says that you
       17                                                         17      Q. Do you always follow your doctor's
            were taking.
       18                                                         18   advice?
               A. Yes.
       19                                                         19      A. Yes, ma'am.
               Q. Oxycodone, were you taking it at the
       20                                                         20      Q. If you go to page 3, the reason for
            time?
       21                                                         21   hospitalization there, do you see it, the reason
               A. Yes.
       22                                                         22   for hospitalization section?
               Q. Enoxaparin, were you taking that at the
       23                                                         23      A. Okay.
            time?
       24                                                         24      Q. You see where it says, "This is a
               A. Yes.
       25                                                         25   51-year-old male with CML and recurrent gout who
               Q. What about Voltaren?
                                                        Page 79                                                    Page 81
        1      A. No. I wasn't taking that. That's a               1   was admitted to be evaluated for gout versus
        2   cream.                                                 2   septic joint."
        3      Q. We discussed that wasn't working for             3          Do you see that?
        4   you, so you weren't taking it.                         4      A. Yes.
        5      A. No.                                              5      Q. That's why you were there, for your
        6      Q. But it was prescribed to you for your --         6   continual recurrent gout and your septic joints?
        7      A. Yes.                                             7      A. Yes.
        8      Q. Cymbalta, were you taking that at the            8      Q. You see where are it says "Ambulation
        9   time?                                                  9   with crutches" again?
       10      A. Yes.                                            10      A. Yes.
       11      Q. What about Tinorman?                            11      Q. Do you remember how long you needed
       12      A. Yes.                                            12   crutches after this specific incident?
       13      Q. You were taking Tinorman for your               13      A. A week.
       14   hypertension, chest pain?                             14      Q. So these last few records we saw were
       15      A. Yes.                                            15   from April and May of 2012; right?
       16      Q. Crestor, were you taking that?                  16      A. Yes.
       17      A. Yes.                                            17      Q. And they showed that you were
       18      Q. And Lyrica, were you taking that?               18   hospitalized twice in that timeframe for your leg,
       19      A. Yes.                                            19   pain in your leg?
       20      Q. Then Ambien and Gleevec, you were taking        20      A. Yes.
       21   those, too; right?                                    21      Q. Specifically this was your left leg?
       22      A. Yes.                                            22      A. No. Both legs.
       23      Q. This list shows more than ten different         23      Q. It's fair to say you had gout and DVT in
       24   medications you were on to treat different various    24   both of your legs?
       25   conditions; right?                                    25      A. Yes.


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        1       Q. Let's go to the next exhibit,                    1   University Medicine?
        2   Exhibit 10, which is the other May 10, 2012 record      2      A. Yes.
        3   from West Virginia University Hospitals. This is        3      Q. That's your name there; right?
        4   the one about elevated blood sugar.                     4      A. Yes, ma'am.
        5          MS. RYBICKI: Do you see that,                    5      Q. Do you see under chief complaint it says
        6   Mr. Higgins?                                            6   syncope?
        7          MR. HIGGINS: Here it is.                         7      A. Yeah.
        8   BY MS. RYBICKI:                                         8      Q. Do you see where it says syncope?
        9       Q. Can you please take a look at the very           9      A. Yes.
       10   bottom of that page. It says Date of Service:          10      Q. Do you know what syncope mean?
       11   5/10/2012. It should be in the center there, Date      11      A. No, ma'am.
       12   of Service, very bottom, Date of Service.              12      Q. I'll represent syncope means fainting.
       13       A. Yes.                                            13   Does this refresh your recollection about you
       14       Q. It also says Night Float Cross Coverage         14   having an episode of fainting in July of 2014?
       15   Update; right?                                         15      A. I don't recall.
       16       A. Yes.                                            16      Q. Let's see if this will refresh your
       17       Q. If you go to the next page, at the top          17   recollection. Do you see the HPI section?
       18   it says, "Called by nurse. Patient has elevated        18      A. Yes.
       19   blood sugar. Is on prednisone and IV D5. Started       19      Q. You're going to become an expert at
       20   sliding scale insulin, but family refused."            20   reviewing medical records after this exercise. If
       21          Do you see that?                                21   you look at the HPI section, it says here, the
       22       A. Yes.                                            22   second line, "The patient was driving this morning
       23       Q. Had you not been diagnosed with diabetes        23   when he began to feel dizzy and extremely cold.
       24   at this point?                                         24   He also began to experience double vision, a
       25       A. No. Nobody has he ever told me.                 25   fever, chills and a headache. The patient had
                                                         Page 83                                                    Page 85
        1      Q. Have you ever been diagnosed with                 1   chest pressure that he describes as punched in the
        2   diabetes?                                               2   heart with shortness of breath. He decided to
        3      A. No.                                               3   pull over and lay down. He denies losing
        4      Q. You weren't diagnosed with diabetes in            4   consciousness. The patient later developed nausea
        5   like 2017?                                              5   and one episode of vomiting. He also developed
        6      A. That's when I had my leg amputation and           6   tingling in his fingertips."
        7   they stuck me -- I was in a lot of pain. So they        7          Does this help refresh your recollection
        8   said, yes, it probably would cause my finger stick      8   of what happened on July 25, 2014?
        9   to be high. That was the only thing I was told.         9       A. Yes.
       10      Q. So the only time you were told about             10       Q. Can you explain to me the feeling in
       11   diabetes is when you had your leg amputated, is        11   your chest?
       12   what you're saying?                                    12       A. Like somebody was taking a nail and
       13      A. I didn't have diabetes. Yes.                     13   driving it in me.
       14      Q. Has Dr. Evans ever spoken to you about           14       Q. Have you ever experienced something like
       15   elevated glucose levels?                               15   that before July of 2014?
       16      A. Dr. Evans I don't remember.                      16       A. No.
       17      Q. Let me rephrase. Has the doctor ever             17       Q. It says that you pulled over and laid
       18   spoken to you about your elevated glucose levels?      18   down. You didn't actually faint, did you?
       19      A. No.                                              19       A. I don't believe so.
       20      Q. Let's go to the next exhibit,                    20       Q. Do you remember if an ambulance took you
       21   Exhibit 11, which is the July 25, 2014 record.         21   to the hospital?
       22   Mr. Menear, do you see the date of service on top      22       A. I don't remember that.
       23   as being July 25, 2014?                                23       Q. If I told you you were discharged from
       24      A. Yes.                                             24   the hospital a few days later, on July 29, would
       25      Q. This is a record from the West Virginia          25   that sound right?



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                                                        Page 86                                                    Page 88
        1       A. I don't remember.                               1      A. Yes.
        2       Q. Do you remember how long the hospital           2      Q. Do you see where it says, "I discussed
        3   stay was?                                              3   with the patient and his family the leukocytosis
        4       A. No.                                             4   and findings in the blood are consistent with
        5       Q. If I told you you were diagnosed with           5   chronic myeloid leukemia"?
        6   pneumonia during this stay, does that sound right?     6          Do you see that?
        7       A. I don't remember.                               7      A. Yes.
        8       Q. We're going to go back to Exhibit 4 now,        8      Q. The doctor then says he explained the
        9   which is the March 17, 2011 record. I would like       9   different phases of CML and that you appeared to
       10   to bring us back to the time when your CML was        10   be in the chronic phase of CML; right?
       11   first diagnosed. Do you understand what CML is?       11      A. Correct.
       12       A. EML?                                           12      Q. He also says, "I also discussed the
       13       Q. CML.                                           13   historical significance of CML treated with
       14       A. Yeah, cancer, leukemia.                        14   transplantation."
       15       Q. Is it fair to say that it's the chronic        15          Do you see that?
       16   myelogenous leukemia that you were diagnosed with?    16      A. Yes.
       17       A. Yes.                                           17      Q. Do you remember what he told you about
       18       Q. Let's look at this record. Do you see          18   transplantation treatment for CML?
       19   that Date of Service says March 7, 2011?              19      A. No. No, I don't.
       20       A. Yes.                                           20      Q. Did you ever go through a
       21       Q. Do you see Dr. Craig is your doctor?           21   transplantation treatment for your CML?
       22       A. Yes.                                           22      A. No, not that I know of.
       23       Q. In the history of present illness              23      Q. Then the doctor says, "Currently, the
       24   section, it says, "The patient, his wife and          24   standard of care is to treat all patients with CML
       25   daughters were at the cancer center today to be       25   with tyrosine kinase inhibitors."
                                                        Page 87                                                    Page 89
        1   evaluated. He presented to see Dr. Malone, his         1          Do you see that?
        2   regular doctor, earlier this week, and he was at       2      A. Yes.
        3   that time found to have symptoms of fatigue and        3      Q. Do you know what Dr. Craig meant when he
        4   night sweats."                                         4   said standard of care?
        5          Does that refresh your recollection             5      A. No, I don't.
        6   about what happened at your visit?                     6      Q. He then says, "I described the CML as an
        7      A. Yes.                                             7   incurable chronic leukemia. However, with
        8      Q. So you were experiencing fatigue and             8   effective treatment, 80 percent of patients are
        9   night sweats before you were diagnosed with CML?       9   controlled usually for many years with tyrosine
       10      A. Yes.                                            10   kinase inhibitors."
       11      Q. What other initial symptoms did you have        11          Do you see that?
       12   of CML?                                               12      A. Yes.
       13      A. Gout. That's how we found out that I            13      Q. Do you remember Dr. Craig telling you
       14   had leukemia. They did bloodwork.                     14   that these tyrosine kinase inhibitors, also known
       15      Q. Then the History of Present Illness             15   as TKIs, offer the chance to live with CML for
       16   section says, "I reviewed the peripheral smear        16   many years?
       17   here. It was consistent with probable CML."           17      A. I don't recall.
       18          Do you see that?                               18      Q. Are you familiar with the term TKI?
       19      A. Yes.                                            19      A. No.
       20      Q. Is it fair to say that this is when you         20      Q. Are you familiar with the term tyrosine
       21   were diagnosed with CML?                              21   kinase inhibitor?
       22      A. Yes. That's what it says.                       22      A. No.
       23      Q. Let's go to page 3. There's a                   23      Q. If I represented to you that Gleevec,
       24   discussion section at the bottom there. The large     24   Tasigna, SPRYCEL, they're all tyrosine kinase
       25   paragraph titled Discussion, do you see that?         25   inhibitors or TKIs, would that sound right?



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        1      A. I don't know.                                  1   or the doctor's appointment feeling confident that
        2      Q. Can you tell me what Tasigna is?               2   I will take medication and my CML will be cured?
        3      A. No, I can't.                                   3       A. Yes.
        4      Q. You've taken Tasigna before?                   4       Q. So you did believe that if you took
        5      A. Yes.                                           5   medication, you had a really high chance of curing
        6      Q. Why did you take Tasigna?                      6   your CML?
        7      A. Cancer.                                        7       A. Yes.
        8      Q. So was Tasigna -- did you take Tasigna         8       Q. If you go to the next page, that would
        9   for the purpose of treating your cancer?             9   be the last page of this document, do you see it
       10      A. Yes.                                          10   says Recommendations at the very top,
       11      Q. I'll represent to you that Tasigna,           11   Recommendations?
       12   SPRYCEL and Gleevec, all drugs that you were once   12       A. Okay.
       13   on, are TKIs. Okay?                                 13       Q. Do you see number four says "Initiate
       14      A. Okay.                                         14   Gleevec"?
       15      Q. I'll represent that to you. You've            15       A. Yes.
       16   taken Gleevec; right?                               16       Q. Does this refresh your recollection that
       17      A. Yes.                                          17   you started on Gleevec upon being diagnosed with
       18      Q. You've taken SPRYCEL; right?                  18   CML?
       19      A. Yes.                                          19       A. Yes.
       20      Q. You've taken Tasigna; right?                  20       Q. You started taking Gleevec right away;
       21      A. Yes.                                          21   right?
       22      Q. Those are the only three drugs you've         22       A. Yes.
       23   taken to treat your CML?                            23       Q. Do you recall Dr. Craig discussing
       24      A. Yes.                                          24   potential side effects of taking Gleevec with you?
       25      Q. Which means you haven't had any other         25       A. No, I don't.
                                                      Page 91                                                    Page 93
        1   treatment for your CML. Has any oncologist ever      1      Q. Do you recall reviewing the Gleevec
        2   recommended anything other than a TKI or Gleevec,    2   label or medication guide?
        3   SPRYCEL or Tasigna for your cancer?                  3      A. Yes.
        4      A. No, no.                                        4      Q. Did you do that before you started
        5      Q. At this point when you were diagnosed          5   taking it or after you started taking it?
        6   with CML, did the Dr. Craig tell you how long you    6      A. After.
        7   can live with CML if it remains untreated?           7      Q. Why did you review it?
        8      A. I don't remember.                              8      A. Because I heard it would do bodily harm.
        9      Q. How did you feel about your CML                9      Q. Let's take a step back. You were
       10   diagnosis?                                          10   diagnosed with CML. Right away your doctor
       11      A. When he first told me, I was scared.          11   prescribed you with Gleevec.
       12      Q. Why were you scared?                          12      A. Yeah.
       13      A. Was you hear the word cancer. I just          13      Q. And right away you started taking
       14   lost a friend. It wasn't three days before I was    14   Gleevec; right?
       15   diagnosed with the same thing.                      15      A. No. I was doing -- I can't remember.
       16      Q. Did Dr. Craig tell you how serious of a       16      Q. We have these records to help you
       17   cancer this?                                        17   remember because this was such a while ago. The
       18      A. Yes.                                          18   record we're looking at right now is from March of
       19      Q. How serious did Dr. Craig say it was?         19   2011. That is when you were diagnosed with CML.
       20      A. He said if I don't take medicine, I           20      A. I don't think I was diagnosed to take
       21   could possibly die.                                 21   Gleevec at the beginning.
       22      Q. Possibly die. What were your chances if       22      Q. So the record we're looking at right
       23   you didn't take any medicine?                       23   now, March 2011, says under the recommendation,
       24      A. I don't remember.                             24   "Initiate Gleevec."
       25      Q. Do you remember if you left the meeting       25      A. Okay.



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        1       Q. Does that refresh your recollection that        1       Q. -- to familiarize yourself with the drug
        2   you started treating your CML with Gleevec?            2   or its side effects?
        3       A. Yes.                                            3       A. No.
        4       Q. So this is going to be a little                 4       Q. Why not?
        5   difficult for you to think back because it             5       A. Because I believed in Dr. Craig.
        6   happened such a long time ago and I know how           6       Q. You trusted that Dr. Craig was going to
        7   stressful finding out your diagnosis must have         7   handle that analysis for you; right?
        8   been for you, but please try to remember your          8       A. Yes.
        9   discussion with Dr. Craig at the time when you         9       Q. Is Dr. Craig a good oncologist?
       10   were diagnosed with CML.                              10       A. Yes.
       11           Dr. Craig told you that you have CML;         11       Q. When you were diagnosed with CML, did
       12   right?                                                12   Dr. Craig thoughtfully explain everything to you
       13       A. Yes.                                           13   about the cancer?
       14       Q. And he told you that we can treat your         14       A. Yes.
       15   CML with a certain drug; is that right?               15       Q. Is Dr. Craig generally good at
       16       A. Yes.                                           16   explaining risks and benefits to you?
       17       Q. And so Dr. Craig suggested that you take       17       A. Yes.
       18   Gleevec; is that right?                               18       Q. Have you always trusted Dr. Craig?
       19       A. Yes.                                           19       A. Yes.
       20       Q. And you finding out about CML wanted to        20       Q. Have you always followed Dr. Craig's
       21   treat it as soon as possible; is that fair to say?    21   recommendation as your oncologist?
       22       A. Yes.                                           22       A. Yes.
       23       Q. So you agreed to take Gleevec for your         23       Q. With respect to medications that
       24   CML at that time?                                     24   Dr. Craig has prescribed for you, did you ever
       25       A. Yes.                                           25   turn down his recommendations?
                                                        Page 95                                                   Page 97
        1       Q. Please think back about your discussion         1      A. No.
        2   with Dr. Craig about this drug. Did he tell you        2      Q. Let's go to our next exhibit,
        3   about any side effects that you can have from          3   Exhibit 12, October 22, 2014. If you look at the
        4   taking Gleevec?                                        4   top there in the shaded line, it says October 22,
        5       A. Yes.                                            5   2014. Do you see that?
        6       Q. Do you remember what side effects he            6      A. Yes, ma'am.
        7   mentioned?                                             7      Q. Is Dr. Craig the author here?
        8       A. Diarrhea, vomiting, upset stomach,              8      A. Yes.
        9   headaches, maybe a skin rash.                          9      Q. So do you see on page 1, on that page at
       10       Q. So you knew that these side effects may        10   the very bottom under the section Cancer Center
       11   happen if you took Gleevec?                           11   Notes, it says, "Clinical trial info if patient
       12       A. Yes.                                           12   participates"? Do you see that?
       13       Q. But you decided to take Gleevec anyway;        13      A. Yes.
       14   right?                                                14      Q. If you move on to page 2, at the kind of
       15       A. Yes.                                           15   center there, it says WVU Healthcare Return
       16       Q. Why is that?                                   16   Patient Progress Note?
       17       A. Because I was told it would help my            17      A. Yes.
       18   cancer.                                               18      Q. In the identification section, Dr. Craig
       19       Q. Your number one priority at that point         19   describes -- at the end of the second line, it
       20   was to get rid of that cancer; is that right?         20   says, "He has been on Gleevec since March 2011,
       21       A. Correct.                                       21   400 milligrams daily, with an excellent
       22       Q. So at that point that Dr. Craig told you       22   hematologic response and molecular response by
       23   about Gleevec, did you review the medication guide    23   June 2011."
       24   or the label for Gleevec --                           24          Do you see that?
       25       A. No.                                            25      A. Yes.


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        1      Q. So according to this, when you were              1   Calls for speculation.
        2   diagnosed with CML in March of 2011, you started       2          You go ahead and answer.
        3   taking Gleevec; right?                                 3          THE WITNESS: He believed it would get
        4      A. Yes.                                             4   my numbers down and could possibly cure me of
        5      Q. And your Gleevec treatment was working;          5   cancer.
        6   right?                                                 6   BY MS. RYBICKI:
        7      A. Yes.                                             7      Q. Would it be fair to say that Dr. Craig
        8      Q. Then if you go to the bottom of page 5,          8   believed that if you took Tasigna, it could cure
        9   which -- let me find that for you. If we go to         9   your CML to the point where you no longer have to
       10   the bottom of page 5, do you see where it says        10   take any medication?
       11   Assessment/Plan?                                      11      A. Correct.
       12      A. Yes.                                            12          MR. HIGGINS: Objection. Calls for
       13      Q. It says "CML with response to Gleevec"?         13   speculation.
       14      A. Yes.                                            14          You can answer.
       15      Q. It then says, "We also have a trial             15   BY MS. RYBICKI:
       16   available. Patients cross over nilotinib and if       16      Q. Mr. Menear, what was your answer?
       17   have molecular remission, consider stopping med.      17      A. Correct.
       18   We reviewed this option, benefits and risks, and      18      Q. Was the goal of taking Tasigna to get
       19   he will consider it. Reviewed the consented form      19   you off the medications ultimately?
       20   with him. All questions answered. He wants to         20      A. Yes.
       21   review with his family as well."                      21      Q. And was that a benefit of Tasigna that
       22          Do you see that?                               22   was not a benefit of Gleevec?
       23      A. Yes.                                            23      A. Yes.
       24      Q. So just to kind of refresh your                 24      Q. At this point, you had a goal of
       25   recollection, this record is from October of 2014.    25   eventually stopping your medications for CML?
                                                        Page 99                                                  Page 101
        1   It says, correct me if I'm wrong, that you have        1      A. Yes.
        2   CML and you've been taking Gleevec for it; right?      2      Q. It also says that you reviewed the
        3       A. Yes.                                            3   options, benefits and risks, and that he will
        4       Q. Then you reviewed continuing treatment;         4   consider it; right?
        5   right?                                                 5      A. Yes.
        6       A. Yes.                                            6      Q. Do you remember what risks Dr. Craig
        7       Q. And then you were told about a trial            7   told you about?
        8   that was available; right?                             8      A. I don't remember any risk, no.
        9       A. Correct.                                        9      Q. It says here you reviewed the consent
       10       Q. And this trial included you switching          10   form with him; right?
       11   from Gleevec to nilotinib; right?                     11      A. Yes.
       12       A. Yes.                                           12      Q. Did Dr. Craig review the consent form
       13       Q. I think we discussed this earlier that         13   with you?
       14   nilotinib is Tasigna; right?                          14      A. Yes.
       15       A. Yes.                                           15      Q. And Dr. Craig answered all your
       16       Q. So is it fair to say that at this visit        16   questions about the consent form?
       17   in October of 2014 is when you were told about the    17      A. Yes.
       18   Tasigna clinical trial?                               18      Q. It says here, "He wants to review with
       19       A. Yes.                                           19   his family as well."
       20       Q. And it was Dr. Craig that offered you          20         So is it fair to say at this point, you
       21   the option of switching to Tasigna?                   21   took the consent form home to talk with your wife
       22       A. Yes.                                           22   about it?
       23       Q. Why did Dr. Craig recommend Tasigna to         23      A. Yes.
       24   you?                                                  24      Q. Let's go to Exhibit 13.
       25          MR. HIGGINS: I'm going to object.              25         MR. HIGGINS: Would this be a good time


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        1   for us to take a break?                                1   read it and his wife read it as well and has
        2          MS. RYBICKI: We can do one more or we           2   decided to participate in the trial. He was given
        3   can do it now. It's up to you.                         3   the ICF again for review. He and his wife read
        4          MR. HIGGINS: Do you want to take a              4   over them. Ample time was given for this process.
        5   break, or do you want to keep going?                   5   Then all of their questions were answered
        6          THE WITNESS: We can do one more.                6   satisfactorily prior to him signing the ICFs. He
        7   BY MS. RYBICKI:                                        7   initialed and dated the bottom of each page, then
        8       Q. If you go to Exhibit 13, October 29,            8   signed, printed, dated and timed the signature
        9   2014, this is a one-page document, Mr. Menear.         9   page. The provider did the same on the signature
       10   It's dated October 29, 2014; right?                   10   page again after he was sure the patient didn't
       11       A. Yeah.                                          11   have any further questions."
       12       Q. This is just one week after that last          12          Does that sound accurate as to what
       13   record we talked about; right?                        13   happened with the ICFs?
       14       A. Yeah.                                          14       A. Yes.
       15       Q. It's a nurse's note?                           15       Q. They gave you the informed consent form
       16       A. Yes.                                           16   before you started the trial; right?
       17       Q. It says that you were there to consider        17       A. Yeah.
       18   a clinical trial as treatment option for CML.         18       Q. Then they gave you this consent form
       19          Do you see that?                               19   again on October 29, 2014; right?
       20       A. Yes.                                           20       A. Yes.
       21       Q. Did you understand the concept of a            21       Q. You and your wife read that consent
       22   clinical trial?                                       22   form; right?
       23       A. Yes, I believe so.                             23       A. Yes.
       24       Q. What did you understand was the concept        24       Q. You were given ample time to read it;
       25   of the clinical trial?                                25   right?
                                                       Page 103                                                 Page 105
        1       A. That it would help me. It would get my          1       A. Yes.
        2   numbers down and possibly cure the cancer.             2       Q. And it says that all of your and your
        3       Q. Earlier you testified that you thought          3   wife's questions were answered before you signed
        4   that -- you said it would help you get your            4   the ICFs; right?
        5   numbers down. You meant Tasigna will help you get      5       A. Yes.
        6   your numbers down; right?                              6       Q. Do you remember the questions you asked,
        7       A. Yes.                                            7   if you asked any questions?
        8       Q. My question to you now is a little              8       A. How long would it take to see a result.
        9   different. It is: What did you consider the            9       Q. Any other questions do you remember
       10   clinical trial to be? Not taking Tasigna. But         10   asking?
       11   the notion of a clinical trial, what did you          11       A. No, not that I remember.
       12   understand that to be?                                12       Q. Was that question answered by Dr. Craig?
       13       A. To help me get better.                         13       A. Yes.
       14       Q. Did you understand that you were part of       14       Q. Did he tell you how long it will take?
       15   a patient population being studied for a new          15       A. No. He said he wasn't sure how long it
       16   treatment?                                            16   would take.
       17       A. Yes.                                           17       Q. Do you have that form that you signed on
       18       Q. Did you understand that as a clinical          18   October 29, 2014?
       19   trial, there was a risk that treatment wouldn't       19       A. I don't believe so. Probably not.
       20   work?                                                 20       Q. Would you do me a favor and look for
       21       A. Oh, yeah, yes.                                 21   that document?
       22       Q. It then says in that paragraph, "Patient       22       A. I will, yes.
       23   was given the ICF," which is the informed consent     23       Q. If you find it, can you please give it
       24   form, "and biomarker ICF to take home last week       24   to your attorney?
       25   for review and share with family. Patient said he     25       A. Yes.


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        1       Q. I have no questions on this document, so       1       Q. Any other symptoms other than diarrhea?
        2   let's take a break.                                   2       A. That's it, diarrhea.
        3           (Recess from 12:30 p.m. to 12:43 p.m.)        3       Q. Gleevec successfully kept your numbers
        4   BY MS. RYBICKI:                                       4   down?
        5       Q. I'm going to go to 11/17/14 next.              5       A. But they dropped, and that's the reason
        6   Exhibit 14 is the November 17, 2014 West Virginia     6   he tried Tasigna. My numbers dropped a little
        7   University Medicine medical record.                   7   bit, and that's when he said, well, let's try it.
        8       A. Yes.                                           8   Would you mind trying a trial.
        9       Q. Mr. Menear, do you see on the bottom           9       Q. Again, I think we established this
       10   under date, it says November 17, 2014?               10   already, but you wanted to take Tasigna because
       11       A. Yes.                                          11   Dr. Craig said it would get you treatment for your
       12       Q. And do you see that Dr. Craig is listed       12   remission?
       13   as the author?                                       13       A. Yes.
       14       A. Yes.                                          14       Q. And you understood that as curing your
       15       Q. If you go to the next page, just below        15   CML so that you wouldn't have to take medications
       16   the BCR/ABL, it starts with Consented.               16   any more?
       17           Do you see that?                             17       A. Yes.
       18       A. Yes.                                          18       Q. You trusted Dr. Craig's judgment that
       19       Q. It says, "Consented for imatinib              19   this was the best course of action at the time?
       20   stopping and change to nilotinib for possible        20       A. Yes.
       21   treatment free remission if MR obtained."            21       Q. It also says consented for imatinib
       22           Do you see that?                             22   stopping. Did you sign a consent form at this
       23       A. Yes.                                          23   time?
       24       Q. The reason from changing from Gleevec to      24       A. Yes.
       25   Tasigna was for you to possibly attain treatment     25       Q. Just to be clear, this record is from
                                                      Page 107                                                   Page 109
        1   for your remission; is that right?                    1   November 17, 2014. So you're saying you signed a
        2       A. Yes.                                           2   consent form around that time?
        3       Q. Do you remember what Dr. Craig told you        3      A. Yes.
        4   at this time about switching to Tasigna?              4      Q. Do you happen to have this consent form?
        5       A. No. I don't remember.                          5      A. I don't know.
        6       Q. Dr. Craig recommended that you change          6      Q. Would you do me a favor and look for
        7   your CML medication from Gleevec to Tasigna;          7   that information, that consent formed from
        8   right?                                                8   November of 2014. If you find it, would you
        9       A. Yes.                                           9   please give it to your attorney?
       10       Q. Did you propose this idea, or did you         10      A. Yes.
       11   say you wanted to change medications?                11      Q. Thank you. Going to the last page in
       12       A. No. He did.                                   12   the Assessment/Plan section, let me know when
       13       Q. Did he say why?                               13   you're there.
       14       A. To try to get my numbers down and maybe       14      A. Okay.
       15   cure me. I wouldn't have to take any medicine at     15      Q. Do you see where it says, "CML good
       16   all.                                                 16   response to imatinib with persistent BPR/ABL.
       17       Q. Let me just establish this. You were          17   Start nilotinib 300 milligram BID. Reviewed food
       18   taking Gleevec, and it was working satisfactorily;   18   and drug interactions. ECG normal today. Repeat
       19   right?                                               19   in one week after starting treatment. Meds given
       20       A. Yeah.                                         20   today."
       21       Q. Were you having any side effects taking       21      A. Yes.
       22   Gleevec?                                             22      Q. Do you agree this is when you started
       23       A. Diarrhea.                                     23   taking Tasigna?
       24       Q. What about nausea?                            24      A. Yes.
       25       A. No, not really, no.                           25      Q. You agree you started taking Tasigna on



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        1   November 17, 2014?                                    1      Q. This is dated November 17, 2014?
        2      A. Yes.                                            2      A. Yes.
        3      Q. How did you receive the Tasigna                 3      Q. The same as the previous record that we
        4   medication? In the mail or at the pharmacy? Did       4   were just talking about.
        5   the doctor give it to you?                            5      A. Yes.
        6      A. Mail order.                                     6      Q. This says, "Patient in for start of
        7      Q. The Tasigna medication came with                7   CAMN107A study for CML. The patient consented a
        8   informational packets; right?                         8   couple of weeks ago and is here for day one. The
        9      A. Yes.                                            9   patient states he is still interested in
       10      Q. It came with a product label also?             10   participating. His wife is with him. Reviewed
       11      A. Yes.                                           11   the procedures for this visit and then reviewed
       12      Q. And it came with a medication guide?           12   dosing guidelines and instructions. Explained
       13      A. Yes.                                           13   will go over them again when give him the
       14      Q. Did you review the medication guide and        14   medication. Patient had local labs done by
       15   label?                                               15   provider and then patient to clinic for visit with
       16      A. I don't think so. I don't know.                16   provider."
       17      Q. Why not? Why didn't you review it?             17          Then it says, "Provider reviewed study
       18      A. I don't know if I did. I don't know.           18   information with him and answered any questions he
       19      Q. Do you remember seeing a medication            19   had." Does that sound right?
       20   guide and label for Tasigna?                         20      A. I'm not sure.
       21      A. Yes.                                           21      Q. So this is a nurse's note from
       22      Q. When did you see it?                           22   November --
       23      A. The 14th, November 14.                         23      A. I remember the nurse.
       24      Q. What year?                                     24      Q. But this says you were in for the start
       25      A. 2014.                                          25   of a clinical trial; right?
                                                      Page 111                                                   Page 113
        1       Q. Are you sure you don't mean November 14,       1      A. Yes.
        2   2017?                                                 2      Q. You knew in November 2014 you were
        3       A. Yeah.                                          3   entering a clinical trial?
        4       Q. So on November 17, 2014, you saw the           4      A. Yes.
        5   Tasigna medication guide and label; right?            5      Q. Did you understand the goal of trial?
        6       A. Yes.                                           6      A. To get me in remission.
        7       Q. Who gave it to you?                            7      Q. It said you consented a couple weeks
        8       A. Dr. Craig.                                     8   ago, but you were still interested in
        9       Q. You went over all the risks and benefits       9   participating; right?
       10   of Tasigna?                                          10      A. Yes.
       11       A. Yes.                                          11      Q. The provider reviewed study information
       12       Q. What were the risks that were told to         12   with you and then answered any questions you had;
       13   you?                                                 13   right?
       14       A. I don't remember the risks. I don't           14      A. Yes.
       15   remember.                                            15      Q. So again on this date, you reviewed the
       16       Q. This also says that you took an ECG           16   study information?
       17   before you took Tasigna; is that right?              17      A. Yes.
       18       A. I don't remember that.                        18      Q. Again, on this date you were given the
       19       Q. Let's go on to our next record. That          19   opportunity to ask questions?
       20   would be Exhibit 15. That's other November 17,       20      A. Yes.
       21   2014 record, but this is a nurse's note. It says     21      Q. And again, on this date if you had
       22   at the bottom nurse's note. Specifically it says     22   questions, they were answered; right?
       23   Nurses Note by Beal, Patricia.                       23      A. Yes.
       24          Do you see that?                              24      Q. Do you remember what questions you had
       25       A. Yes.                                          25   about the drug at this point?



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        1      A. No. I don't remember.                           1   about the causing deaths. I probably wasn't
        2      Q. Do you remember any questions about the         2   listening or what. But if that, I wouldn't have
        3   safety profile?                                       3   took it.
        4      A. No. I don't remember any.                       4   BY MS. RYBICKI:
        5      Q. On the next page the paragraph                  5       Q. Let's just take a step back here. Go to
        6   continues, and in the middle of the paragraph, it     6   the black box. You see that; right?
        7   says, "The investigational pharmacist brought it      7       A. Yeah.
        8   and reviewed dosing as well as went over the          8       Q. You see where it says, "Warning: QT
        9   cartons of medication and how he is to take it.       9   prolongation sudden deaths"; right?
       10   The patient stated understanding of all              10       A. Yeah.
       11   instructions."                                       11       Q. So the Tasigna label in 2014 said that
       12          So you met with an investigational            12   there is a risk of sudden death when taking
       13   pharmacist as part of this study?                    13   Tasigna; right?
       14      A. Yes.                                           14       A. Yes.
       15      Q. You reviewed the dosage?                       15       Q. You just testified that you knew that at
       16      A. Yes.                                           16   the time; right?
       17      Q. You reviewed the cartons of medication?        17          MR. HIGGINS: Objection.
       18      A. Yes.                                           18   Mischaracterizes testimony. He said he didn't
       19      Q. You understood all the instructions as         19   read the label.
       20   to how to take the medication?                       20          You can answer subject to that
       21      A. Correct.                                       21   objection.
       22          MS. RYBICKI: Let's go to Exhibit 16,          22          THE WITNESS: Yeah. I never read this.
       23   which is the 2014 Tasigna label. That's going to     23   I don't remember seeing any of this.
       24   be a little bit out of order, Mr. Higgins.           24   BY MS. RYBICKI:
       25                                                        25       Q. At the time that you took Tasigna, you
                                                      Page 115                                                  Page 117
        1   BY MS. RYBICKI:                                       1   did not know that you can suddenly die as a result
        2       Q. Do you see on the bottom right corner it       2   of taking it?
        3   says "Revised September 2014"?                        3       A. No, ma'am.
        4       A. Okay, yeah.                                    4       Q. Did Dr. Craig communicate this
        5       Q. Then you see the title of the document         5   information to you?
        6   is Highlights of Prescribing Information?             6       A. No.
        7       A. Yes.                                           7       Q. Is it correct that you just testified if
        8       Q. Do you see a black box in the upper            8   you knew there was a risk of sudden death when you
        9   left?                                                 9   started taking Tasigna, you wouldn't have taken
       10       A. Yes.                                          10   Tasigna?
       11       Q. Do you see where it says, "Warning: QT        11       A. Yes.
       12   prolongation and sudden deaths"?                     12       Q. Why is that?
       13       A. Yes.                                          13       A. I didn't want to die.
       14       Q. So there was a boxed warning on the           14       Q. So if you go down at the bottom below
       15   first page of the Tasigna label in 2014 telling      15   that black box, do you see there's a Warnings and
       16   you that Tasigna could suddenly kill you; right?     16   Precautions section?
       17       A. Yes. That's what it says.                     17       A. Yes.
       18       Q. But you took the drug anyway; right?          18       Q. So if you follow those bullet points and
       19       A. Correct.                                      19   you go to bullet point number four, can you please
       20       Q. And was that a risk that you were             20   read that bullet point to yourself that starts
       21   willing to take?                                     21   with Cardiac and Vascular Events. Let me know if
       22          MR. HIGGINS: Objection to form of the         22   you need help finding it.
       23   question.                                            23       A. Can you help me?
       24          You can answer.                               24       Q. Do you see the section that says Cardiac
       25          THE WITNESS: I probably didn't know           25   and Vascular Events?



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        1      A. Yes.                                            1      A. Yes.
        2      Q. Can you please read that now?                   2      Q. This is about seven months after
        3      A. Cardiac and Vascular Events.                    3   starting Tasigna. So if we just said you started
        4      Q. You can read it to yourself. I want to          4   taking Tasigna in March of 2014 -- hold on.
        5   make sure you understand the information.             5   Strike that.
        6      A. Okay.                                           6          We just talked about you starting
        7      Q. So this Tasigna label in 2014 is                7   Tasigna in November of 2014; right?
        8   specifically warning against cardiac and vascular     8      A. Yes.
        9   events; right?                                        9      Q. So this is a document from June 2015.
       10      A. Yeah.                                          10   This is about seven months after you started
       11      Q. It's specifically warning against              11   taking Tasigna?
       12   ischemic heart disease; right?                       12      A. Okay. Yes.
       13      A. Yes.                                           13      Q. You see Dr. James Malone's name right by
       14      Q. And it's specifically warning that             14   History of Present Illness. Do you see that? Do
       15   taking Tasigna can cause peripheral arterial         15   you see Dr. James Malone's name?
       16   occlusive disease; right?                            16      A. Okay.
       17      A. Yes.                                           17      Q. Is that a "yes"?
       18      Q. You ended up getting peripheral arterial       18      A. Yes.
       19   occlusive disease; right?                            19      Q. Was Dr. Malone your primary care
       20      A. Yes.                                           20   physician at Mountain State Primary Care?
       21      Q. And you ended up getting heart disease         21      A. Yes.
       22   also; right?                                         22      Q. In the History of Present Illness
       23      A. Yes.                                           23   section that I think you just found, it says that
       24      Q. Did you go over this information with          24   you present with a complaint of tingling.
       25   Dr. Craig at the time that you were taking           25          Do you see that?
                                                      Page 119                                                  Page 121
        1   Tasigna?                                              1       A. Yes.
        2      A. I don't think so, no.                           2       Q. Then it says -- now I'm struggling to
        3      Q. Were you aware of this risk factor when         3   see it myself. It says, "Began about the same
        4   you decided to take Tasigna?                          4   time he was placed on a new CML drug."
        5      A. No.                                             5           Do you see that? So this would be -- it
        6      Q. If you had seen this warning that taking        6   would be the third line. The third line says,
        7   Tasigna can possibly lead to peripheral arterial      7   "Began about the same time he was placed on a new
        8   occlusive disease or heart disease, would that        8   CML drug."
        9   have changed your mind as to whether or not to        9           MR. HIGGINS: We'll stipulate that it
       10   take Tasigna?                                        10   says that.
       11      A. Possibly.                                      11           THE WITNESS: Yeah.
       12      Q. Presumably you would have seen a similar       12   BY MS. RYBICKI:
       13   warning in the consent form you that signed that     13       Q. At this point, Dr. Malone told you that
       14   we talked about earlier; right?                      14   your tingling started at the same time that you
       15      A. Yes.                                           15   began Tasigna; right?
       16      Q. Let's go to the next exhibit, 17,              16       A. No.
       17   June 8, 2015, Dr. Malone's office.                   17       Q. Let's simplify this a little bit. I
       18      A. Wow.                                           18   know the record is hard to read. But essentially
       19      Q. That's a tough one. That's what happens        19   this is June 2015, seven months after you started
       20   when the records are old and the print job is not    20   taking Tasigna, and you come to Dr. Malone for
       21   great. I apologize for that.                         21   tingling in your legs; is that right?
       22          This record is dated June 8, 2015;            22       A. Yes.
       23   right?                                               23       Q. And so Dr. Malone says that your
       24      A. Yes.                                           24   tingling started when you started taking Tasigna;
       25      Q. And it's a history and physical report?        25   is that right?



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        1       A. Yes.                                            1   tingling in your legs?
        2       Q. So at this point in June of 2015,               2      A. No.
        3   Dr. Malone associates the tingling in your legs to     3      Q. No?
        4   the Tasigna that you were taking; right?               4      A. No, I don't.
        5       A. I don't know.                                   5      Q. Do you remember when you started
        6       Q. You went to the doctor for tingling in          6   Tasigna, you had side effects; right?
        7   your legs; right?                                      7      A. I don't remember. We established --
        8       A. Yes.                                            8          MR. HIGGINS: There's no question
        9       Q. Did you think Tasigna was causing your          9   pending.
       10   tingling in your legs?                                10   BY MS. RYBICKI:
       11       A. No. I didn't think, no.                        11      Q. Did you talk to Dr. Craig about tingling
       12       Q. Did Dr. Malone think that tingling in          12   in your legs?
       13   your legs was the due to Tasigna?                     13      A. I don't remember.
       14       A. Now, what he might have done, he might         14      Q. Let me ask you this: You started taking
       15   have upped my dosage because I've been on Lyrica      15   Tasigna November 2014. How did you feel when you
       16   since 1990. So that's hard to answer for me.          16   were taking Tasigna?
       17       Q. At the time that you went to Dr. Malone        17      A. Okay. When I first started taking it,
       18   in June of 2015, he thought that the tingling in      18   okay.
       19   your legs was due to your Tasigna taking; right?      19      Q. Did your CML improve?
       20          MR. HIGGINS: Objection to what he              20      A. Yes.
       21   thought.                                              21      Q. And then you said when you first started
       22          You can answer, if you know.                   22   taking it, you were okay. Did that change?
       23          THE WITNESS: I don't even know.                23      A. Yes.
       24   BY MS. RYBICKI:                                       24      Q. So what changed about how you were
       25       Q. What did Dr. Malone tell you was the           25   feeling when you were taking Tasigna?
                                                       Page 123                                                  Page 125
        1   cause of the tingling in your legs?                    1      A. My legs were starting to hurt.
        2      A. At this date, I don't know.                      2      Q. When did your legs start to hurt?
        3      Q. I know you said you don't know what              3      A. 2016. I don't know the exact date.
        4   Dr. Malone may have said at the time. But this         4      Q. So for the first two years of taking
        5   record from June 2015 specifically says that your      5   Tasigna, you had no side effects?
        6   tingling began at the same time that you were          6      A. I don't know. I don't know.
        7   placed on Tasigna; right?                              7      Q. Mr. Menear, I'd like to remind you that
        8          MR. HIGGINS: We'll stipulate the record         8   you filed a Complaint against Novartis stating
        9   speak for itself and that is what it says.             9   that Tasigna is a drug that you took for your CML
       10   BY MS. RYBICKI:                                       10   and that it led to several injuries of yours. So
       11      Q. Mr. Menear, does this refresh your              11   I'm trying to learn about these injuries and
       12   recollection about the cause of your tingling of      12   possible side effects of Tasigna. I appreciate
       13   your legs?                                            13   you thinking back in time to remember exactly what
       14      A. No.                                             14   happened and how you were feeling and how you were
       15      Q. Can you tell me about the tingling that         15   reacting to Tasigna because these are very
       16   you were experiencing?                                16   important pieces of information to learn about
       17      A. No. I don't know, no. I don't know              17   Tasigna.
       18   that.                                                 18          So my question is: You began to take
       19      Q. Let's put the medical record aside. I           19   Tasigna in November 2014; right?
       20   don't want you to think you're limited to what it     20      A. Yes.
       21   says. I want to know what you remember about what     21      Q. Can you tell me about the side effects
       22   happened.                                             22   or any side effects you had from taking Tasigna?
       23      A. At this date, I don't remember any of           23      A. In 2014?
       24   this.                                                 24      Q. After you started taking it.
       25      Q. In June 2015, you don't remember having         25      A. I don't believe I had any side effects.



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        1      Q. Your heart disease is not a side effect         1       A. Yes.
        2   of your Tasigna taking; right?                        2       Q. Do you see where it says, "Continues to
        3      A. Yes.                                            3   complain of bilateral leg pain. Begins in feet to
        4      Q. Yes, it was or yes, it was not a side           4   calves. Sometimes sore to touch. No skin
        5   effect?                                               5   changes. Some tingling and burning in feet.
        6      A. Yes, it was.                                    6   Continues to be active, but sometimes pain limits
        7      Q. You just testified that you had no side         7   activities"?
        8   effects from taking Tasigna. I'm trying to            8          Do you see that?
        9   understand exactly what issues you were facing or     9       A. Yes.
       10   faced because of taking Tasigna. So would you be     10       Q. So you were continuing to complain of
       11   able to tell me those?                               11   bilateral leg pain which means pain in both legs;
       12      A. I can't answer. I don't know. I don't          12   right?
       13   know.                                                13       A. Yes.
       14      Q. Let's move on to our next record. This         14       Q. I believe you testified you continually
       15   will be Exhibit 18, November 2, 2015. There's        15   had leg pain from your accident in 1990; right?
       16   going to be two November 2, 2015 documents.          16       A. Yes.
       17          Do you see this is a West Virginia            17       Q. So this leg pain that Dr. Craig is
       18   University Medicine medical record?                  18   talking about is just continuous from 1990?
       19      A. Yes.                                           19       A. Yes.
       20      Q. Do you see your name on top that?              20       Q. Is there anything new about this leg
       21      A. Yes.                                           21   pain?
       22      Q. And it's dated November 2, 2015?               22       A. No.
       23      A. Yes.                                           23       Q. Did you discuss this leg pain with
       24      Q. This is a note from Dr. Craig; is that         24   Dr. Craig at the time?
       25   right?                                               25       A. Yes.
                                                      Page 127                                                   Page 129
        1      A. Yes.                                            1       Q. What did he say about the leg pain?
        2      Q. Dr. Craig was your oncologist?                  2       A. I don't remember.
        3      A. Yes.                                            3       Q. Did he mention to you that he thought
        4      Q. Halfway down the page, we see "May              4   Tasigna may be the cause of the leg pain?
        5   2015 - complete molecular remission."                 5       A. No.
        6          Do you see that?                               6       Q. Did you, yourself, think that this leg
        7      A. Yes.                                            7   pain may be caused by Tasigna?
        8      Q. Did you discuss with Dr. Craig what             8       A. Yes.
        9   complete molecular remission was?                     9       Q. Did you consider coming off of Tasigna
       10      A. I don't remember.                              10   at this point?
       11      Q. Do you know what complete molecular            11       A. No.
       12   remission is?                                        12       Q. Why not?
       13      A. Yeah, when your cancer is in remission.        13       A. Because we wasn't sure if that's what
       14      Q. Did Dr. Craig discuss that with you,           14   was causing my leg pain.
       15   your cancer was in complete remission at that        15       Q. But you also were seeing really good
       16   point?                                               16   results; right?
       17      A. Yes.                                           17       A. Yeah.
       18      Q. Was he happy with the fact that you            18       Q. On page 5, which is the last page, do
       19   reached complete molecular remission?                19   you see the Plan section?
       20      A. Yes.                                           20       A. Yes.
       21      Q. Did Dr. Craig believe that Tasigna was         21       Q. Do you see in item four it says, "New
       22   working better for you than Gleevec at that time?    22   consent signed today"?
       23      A. Yes.                                           23       A. Yes.
       24      Q. So if you go down to the Interval              24       Q. Let's look at that consent form next as
       25   History section, do you see that?                    25   Exhibit 19. So it's the November 2, 2015 informed



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        1   consent form. This is going to be another bad          1   BY MS. RYBICKI:
        2   printout. So please work with me, Mr. Menear. Do       2       Q. Do you see Risks and Discomforts?
        3   you see at the top there it says West Virginia         3       A. Yes.
        4   University?                                            4       Q. Do you see where it says right under
        5      A. Yes.                                             5   that, "Risks are possible side effects of the
        6      Q. The title of the document -- I know it's         6   study drug"?
        7   kind of hard to see, but it's titled CAMN107A US37     7       A. Yes.
        8   Informed Consent Type Version September 23, 2015?      8       Q. So you were aware that Tasigna had side
        9      A. Yes.                                             9   effects; right?
       10      Q. Then on the right there, there's some           10       A. Yes.
       11   kind of sticker looking thing that has your name      11       Q. And they were calling it a study drug,
       12   on it with a bar code. Do you see it?                 12   so you were aware that this clinical trial was a
       13      A. Yes.                                            13   study; right?
       14      Q. In the header there you see as                  14       A. Yes.
       15   co-investigator Dr. Michael Craig is listed;          15       Q. On the next page do you see where it
       16   right?                                                16   says, "Some side effects could be serious"?
       17      A. Yes.                                            17       A. Yes.
       18      Q. Dr. Craig was the oncologist who                18       Q. Do you see on the first bullet point?
       19   prescribed you Tasigna; right?                        19   It says, "Chest pain, high blood pressure, low
       20      A. Yes.                                            20   blood pressure, hardening of blood vessels,
       21      Q. And on the bottom right, we see initials        21   clotting of blood, abnormal ECG, irregular heart
       22   AM and a date November 2, 2015; right?                22   rhythm, palpitations, fainting, blue discoloration
       23      A. Yes.                                            23   of the lips, tongue or skin which are signs of
       24      Q. You initialed that first page; right?           24   heart disorders."
       25      A. Correct.                                        25          Do you see that?
                                                       Page 131                                                   Page 133
        1       Q. That's your handwriting?                        1       A. Yes.
        2       A. Yes.                                            2       Q. These are listed as side effects of
        3       Q. Dr. Craig went over this page with you?         3   Tasigna; right?
        4       A. Yes.                                            4       A. Yes.
        5       Q. And then you can flip through the               5       Q. On the bottom there is your initial and
        6   document if you'd like, but it seems like you          6   dating of the page; right?
        7   initialed and dated every page; right?                 7       A. Yes.
        8       A. Yes.                                            8       Q. So you read this information and you
        9       Q. And your initials indicate that you             9   were aware of it when you initialed it; right?
       10   understood what was on each page; right?              10       A. I don't remember.
       11       A. Yes.                                           11       Q. Those are your initials; right?
       12       Q. You can take the time to look through          12       A. Yeah.
       13   this document if you would like, but I would like     13       Q. And you remember signing those initials;
       14   to direct your attention to the bottom of page 8,     14   right?
       15   the section that says Risks and Discomforts. I        15       A. I don't remember.
       16   can help you locate that if you would like. Last      16       Q. We can go to page 11, which the bottom
       17   Bates are 940. Do you see where it says Risks and     17   Bates page number would be 943. In the middle of
       18   Discomforts?                                          18   the page it says, "Patients who take nilotinib may
       19          MR. HIGGINS: Bates 940?                        19   develop decreased blood flow to the leg, the heart
       20          MS. RYBICKI: Yeah.                             20   or the brain, also called ischemic vascular or
       21          MR. HIGGINS: I see side effects.               21   cardiovascular events."
       22          MS. RYBICKI: I think you're looking at         22          Do you see that?
       23   the wrong page actually. That's 941.                  23       A. Yes.
       24          MR. HIGGINS: There we go.                      24       Q. So this informed consent form from
       25                                                         25   November 2, 2015 warned of cardiovascular events;



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        1   right?                                                1   bullet point number three, where it says
        2       A. Yes.                                           2   peripheral artery occlusive disease; intermittent
        3       Q. Then if you follow along, it continues.        3   claudication, which is cramping, pain and weakness
        4   It says, "Examples of ischemic vascular or            4   in the legs, especially the calves on walking that
        5   cardiovascular events include" and let's start        5   disappears after rest, arterial stenosis limb
        6   with the first bullet point, ischemic heart           6   (abnormal narrowing of the blood vessels supplying
        7   disease.                                              7   blood in limbs).
        8       A. Okay.                                          8          Do you see that?
        9       Q. Angina pectoris, which is chest pain due       9       A. Yes.
       10   to restriction of blood supply to the heart          10       Q. This informed consent form you signed on
       11   muscle, coronary artery disease, which is the        11   November 2, 2015 specifically warns that taking
       12   major blood vessels that supply your heart with      12   Tasigna can lead to peripheral arterial occlusive
       13   blood and oxygen and nutrients become diseased,      13   disease; right? It's the third bullet point.
       14   acute myocardial infarction, which is a heart        14       A. I see it. I don't remember.
       15   attack, and coronary artery stenosis, which is an    15          MR. HIGGINS: We'll stipulate that's
       16   abnormal narrowing in a major blood vessel which     16   what the document says.
       17   supply your heart with blood, oxygen and             17   BY MS. RYBICKI:
       18   nutrients.                                           18       Q. And so this informed consent form that
       19          Do you see that?                              19   you signed November 2, 2015 also says
       20       A. Yes.                                          20   claudication, which is cramping pain and weakness
       21       Q. The informed consent form that you            21   in the legs, is a possible side effect of Tasigna;
       22   signed in November of 2015 specifically warned       22   right?
       23   taking Tasigna can have a side effect of coronary    23       A. Yes.
       24   artery disease?                                      24       Q. With all these warnings that we just
       25       A. Yes.                                          25   discussed in this document and the fact you've
                                                      Page 135                                                   Page 137
        1       Q. It even said you can get a heart attack        1   initialed every page, it's fair to that say you
        2   from taking Tasigna; right? In the third line, it     2   were aware of that these side effects and warnings
        3   says, "Acute myocardial infarction (heart             3   at the time?
        4   attack)."                                             4          MR. HIGGINS: Is that a question?
        5          Do you see that?                               5          MS. RYBICKI: Is it fair to say you were
        6       A. Yes.                                           6   aware?
        7       Q. So this informed consent form that you         7          MR. HIGGINS: It was a statement. I'm
        8   signed November 2, 2015 said you can get a heart      8   going to object to the question if it's a
        9   attack from taking Tasigna; right?                    9   question. I'm going to object to the form the
       10       A. Yes.                                          10   question.
       11       Q. So then we're going to go on to the           11          Subject to the objection, you can
       12   second bullet point which talks about ischemic       12   answer.
       13   cerebrovascular event, and it says ischemic          13   BY MS. RYBICKI:
       14   cerebrovascular accident, which is a stroke, and     14       Q. If you would like me to re-ask the
       15   transient ischemic attack, which is when blood       15   question, I can.
       16   flow to a part of the brain stops for a brief        16       A. I don't know.
       17   period of time.                                      17       Q. Let me re-ask the question. There's a
       18          Do you see that as a side effect of           18   lot of words said, and you may be confused.
       19   Tasigna?                                             19          With all of these warnings that we just
       20       A. Where are you?                                20   went over, all these side effects we just went
       21       Q. I'm in the second bullet point, same          21   over in this informed consent form, is it fair to
       22   page, second bullet point. Do you see one            22   say that you were aware of all these side effects
       23   potential side effect of Tasigna is stroke?          23   and potential results from taking Tasigna?
       24       A. Yes.                                          24          MR. HIGGINS: Objection to form.
       25       Q. Then we'll go on the next bullet point,       25          You can answer.


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        1   BY MS. RYBICKI:                                       1      Q. So you knew in order to take Tasigna,
        2       Q. When you signed the document.                  2   you needed to sign this informed consent form; is
        3          MR. HIGGINS: Objection to the form.            3   that right?
        4          THE WITNESS: No, I don't. I don't              4      A. Yeah.
        5   remember.                                             5      Q. So you signed, you initialed and dated
        6          MS. RYBICKI: I'm sorry. What is the            6   each page of this informed consent form; is that
        7   form that you're objecting to?                        7   right?
        8          MR. HIGGINS: I'm not going to argue            8      A. Yeah.
        9   with you. I made my objection and stated the          9      Q. And on these pages that you initialed,
       10   reason why. You asked him if he was aware. I         10   lots of those pages talk about the side effects of
       11   don't think he was aware.                            11   taking Tasigna; is that right?
       12          MS. RYBICKI: But is it fair to say.           12      A. I didn't know then, no.
       13          MR. HIGGINS: It's not fair to say he          13      Q. So we just went over them together.
       14   was aware.                                           14      A. Yes.
       15          THE WITNESS: No.                              15      Q. It's kind of hard because the letters
       16          MS. RYBICKI: But it's not your question       16   are small, but we managed to get through it. We
       17   to answer.                                           17   went through many of the side effects that are
       18          MR. HIGGINS: You asked me a question.         18   from taking Tasigna; right?
       19   I'm trying to answer. We haven't established that    19      A. Yes.
       20   he was aware of those warnings. That's why I'm       20      Q. So you were aware that coronary artery
       21   objecting to the form of the question.               21   disease was a side effect of taking Tasigna; is
       22   BY MS. RYBICKI:                                      22   that right?
       23       Q. I'm going to re-ask my question and           23          MR. HIGGINS: Objection to the form of
       24   probably try to make it a little more simple to      24   the question. He's already answered the question.
       25   answer.                                              25          THE WITNESS: No, I wasn't.
                                                      Page 139                                                   Page 141
        1          Everything we just discussed on this           1   BY MS. RYBICKI:
        2   informed consent form, the warnings and the side      2        Q. And you were aware that a heart attack
        3   effects of using Tasigna, you were aware of them      3   was a possibility of taking Tasigna?
        4   when you signed it on November 2, 2015?               4           MR. HIGGINS: Objection to form.
        5      A. No.                                             5           You can answer.
        6      Q. You were not aware when you signed this         6           THE WITNESS: No, I wasn't.
        7   form that these were potential side effects of        7   BY MS. RYBICKI:
        8   Tasigna, is that what you're saying?                  8        Q. And you were aware that peripheral
        9      A. No.                                             9   arterial occlusive disease was a side effect of
       10      Q. So what did you know when you signed           10   taking Tasigna?
       11   this form, every page of this form on November 2,    11           MR. HIGGINS: Objection to the form.
       12   2015?                                                12           You can answer.
       13      A. That hopefully it was going to help me.        13           THE WITNESS: No, I wasn't.
       14      Q. I think we're again misunderstanding           14   BY MS. RYBICKI:
       15   each other. I'm going to try to restate the          15        Q. So when you signed this document and you
       16   question.                                            16   initialed it on every page and you signed it at
       17          So this informed consent form, did you        17   the end, what did that mean to you?
       18   understand why you were signing it?                  18        A. I don't know.
       19      A. Yeah.                                          19        Q. Do you regularly just sign documents and
       20      Q. Why were you signing the informed              20   initial every page?
       21   consent form?                                        21           MR. HIGGINS: Objection. Argumentative.
       22      A. To go on a trial.                              22           You can answer.
       23      Q. Can you please explain to me what that         23           THE WITNESS: Yes, sometimes. When I
       24   means, to go on a trial?                             24   have a bunch of pages like this, I didn't read it
       25      A. Take this trial drug, Tasigna.                 25   all.


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        1   BY MS. RYBICKI:                                       1   coronary artery disease of taking Tasigna. I want
        2       Q. You had ample time to review it; right?        2   you to understand that's what this page says. Do
        3   We saw in the record that you took it home and        3   you understand what I'm saying?
        4   talked to your wife about it and thought about it;    4       A. No. That didn't mean nothing.
        5   right?                                                5           MR. HIGGINS: You've answered the
        6       A. Yes.                                           6   question.
        7       Q. Then you asked questions about it;             7   BY MS. RYBICKI:
        8   right?                                                8       Q. Just to make clear, even though you were
        9       A. Yes.                                           9   in -- strike that.
       10       Q. And your questions were answered by           10           Just to be clear even though you had the
       11   doctors, Dr. Craig; right?                           11   risk factors such as high blood pressure and high
       12       A. That we had, yes.                             12   cholesterol that were mentioned in this warning
       13       Q. Taking you back to that page, that same       13   about people with high blood pressure and high
       14   page with the three bullets that talked about the    14   cholesterol being in the majority of cases
       15   side effects of cardiovascular issues and events,    15   reported for these cardiovascular events, you
       16   do you see that?                                     16   decided to take Tasigna and continued taking
       17       A. No. I don't remember which one it was         17   Tasigna; is that right?
       18   on.                                                  18           MR. HIGGINS: Objection to the form.
       19          MS. RYBICKI: It's Bates 943, counsel,         19           You can answer.
       20   if you want to show him.                             20           THE WITNESS: I don't remember. But,
       21   BY MS. RYBICKI:                                      21   yes, it -- yes.
       22       Q. You remember we went over those three         22   BY MS. RYBICKI:
       23   bullet points; right?                                23       Q. At this point in November of 2015, you
       24       A. Yes.                                          24   also had lower extremity issues and pain while
       25       Q. Right under those three bullet points,        25   walking; right?
                                                      Page 143                                                  Page 145
        1   it says, the majority of the cases reported were      1      A. I don't know.
        2   in patients with risk factors, such as advanced       2      Q. We just saw a record when you saw
        3   age, high blood pressure, smoking, diabetes           3   Dr. Craig where you explained that you had pain
        4   mellitus and high cholesterol. Additionally, many     4   while walking. Do you remember that?
        5   of these patients were reported to have had a         5      A. No.
        6   preexisting peripheral vascular disease, which is     6      Q. Let's go to the last page of that
        7   a disease of the blood vessels, with common signs     7   document. The last page, it says Signatures. Do
        8   and symptoms such as lower extremity swelling and     8   you see where it says Signatures?
        9   claudication, which is pain while walking.            9      A. Yes.
       10          Do you see that?                              10      Q. It's kind of in the middle of the page
       11       A. Yeah.                                         11   there.
       12       Q. You were being treated for high blood         12      A. Yes, I see it.
       13   pressure at the time; right?                         13      Q. Do you see where it says, "I have read
       14       A. Treated for what?                             14   this document/had its contents explained to me. I
       15       Q. You were being treated for high blood         15   understand the purpose of this study and what will
       16   pressure.                                            16   happen to me in this study. I do freely give my
       17       A. Yes.                                          17   consent to join in the study as described to me in
       18       Q. And you were being treated for high           18   this document"?
       19   cholesterol at this time?                            19          Do you see that?
       20       A. Yes.                                          20      A. Yes.
       21       Q. Mr. Menear, this informed consent form        21      Q. Is that your signature there?
       22   states that people who have high blood pressure,     22      A. Yes.
       23   who have diabetes and high cholesterol, that's       23      Q. And did you date that document?
       24   where the majority of the cases were reported of     24      A. Yes, ma'am.
       25   things like peripheral vascular disease and          25      Q. And did you put the time there as well?


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        1      A. Yes.                                           1          Do you see that?
        2      Q. Then Dr. Craig signed this ICF, too;           2       A. Yes.
        3   right?                                               3       Q. Do you recall having angioplasties on
        4      A. Yes.                                           4   both of those dates? You don't need to think too
        5      Q. And he also dated it and put the time?         5   hard about it because in those two bullet points,
        6      A. Yes.                                           6   if you keep going after the date, it says balloon
        7      Q. And it seems like he signed it just one        7   angioplasty. I'm just going to see if this
        8   minute after you did; right?                         8   refreshes your recollection that you had
        9      A. Yes.                                           9   angioplasties on February 16 and 26, 2016.
       10      Q. Let's move on to Exhibit No. 20. That's       10       A. Who did it?
       11   the March 14, 2016 Dr. Sedillo office visit.        11       Q. It doesn't say who did it, but it says
       12           Toward the bottom of the page, do you       12   that this is a record from Dr. Sedillo.
       13   see it's dated March 14, 2016?                      13       A. Okay. Yeah. Yes.
       14      A. Yes.                                          14       Q. I mean, you remember having two
       15      Q. Do you see that Dr. Gino Sedillo was the      15   angioplasties; right?
       16   doctor?                                             16       A. No, I don't.
       17      A. Yes.                                          17       Q. Do you know what an angioplasty is?
       18      Q. Who is Dr. Sedillo?                           18       A. No.
       19      A. He was a vascular doctor down in              19       Q. We should have started with that. An
       20   Florida.                                            20   angioplasty is a minimally invasive procedure that
       21      Q. On page 2 do you see a Problems section?      21   widens your obstructed arteries or veins.
       22      A. Yes.                                          22   Essentially if you have a clot, they kind of open
       23      Q. One of the problems listed in bullet          23   it up and widen it. Are you familiar with that?
       24   point two is renal artery stenosis.                 24       A. Yeah.
       25           Do you see that?                            25       Q. Do you remember having such procedures
                                                     Page 147                                                  Page 149
        1         A. Yes.                                        1   done?
        2         Q. Do you know what stenosis in an artery      2       A. Yes.
        3   is?                                                  3       Q. Do you remember how many of them you
        4      A. No.                                            4   had?
        5      Q. I'll tell you it's the narrowing of            5       A. Five.
        6   arteries that carry blood to your kidneys. But do    6       Q. They placed stents into your arteries to
        7   you see the next bullet point is peripheral          7   open them up; right? Is that how you understand
        8   vascular disease?                                    8   it?
        9      A. Yes.                                           9       A. Yes.
       10      Q. So in March of 2016, you had peripheral       10       Q. You know that the angioplasties that you
       11   vascular disease?                                   11   had were to help treat your peripheral vascular
       12      A. Yes.                                          12   disease; right?
       13      Q. Did you have peripheral vascular disease      13       A. Yes.
       14   before March of 2016?                               14       Q. Did Dr. Sedillo know that you were
       15      A. I don't know.                                 15   taking Tasigna?
       16      Q. If you go to the next page, there's a         16       A. No.
       17   Surgical History section. It would be the third     17       Q. Did Dr. Sedillo tell you what he thought
       18   page. Is this the Surgical History section?         18   was causing your peripheral vascular disease?
       19      A. Yes.                                          19       A. No, he didn't.
       20      Q. There's a lot of stuff there, but I want      20       Q. In March of 2016, when you were
       21   you to focus on the two first bullets. The first    21   diagnosed with peripheral vascular disease, did
       22   one says peripheral artery intervention, and it     22   you suspect that this peripheral vascular disease
       23   says February 26, 2016. And then the second         23   was related to your taking of Tasigna?
       24   bullet point says peripheral artery intervention    24       A. No.
       25   again, and this one is on February 16, 2016.        25       Q. Mr. Menear seems to be bothered by the


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        1   light.                                                1       A. I believe it was 2016, around December
        2       A. It's right in my eyes.                         2   2016.
        3           MR. HIGGINS: Sorry. There's no help           3       Q. The four procedures we just talked about
        4   for it.                                               4   in relation to your peripheral vascular disease,
        5   BY MS. RYBICKI:                                       5   did you talk about these with Dr. Craig at all?
        6       Q. Let's move on to Exhibit 21, which is          6       A. I don't remember.
        7   the May 16, 2016 cardio consult. This is a            7       Q. Let's move onto the next exhibit,
        8   May 16, 2016 record from Dr. Sedillo's office, but    8   Exhibit 22, May 9, 2016 consent form.
        9   it appears that you saw Stacey Royce, a PA, on        9            MR. HIGGINS: Have we talked about that
       10   this visit; right?                                   10   one yet?
       11       A. Yes.                                          11            MS. RYBICKI: No.
       12       Q. If you look at the -- if you go to page       12   BY MS. RYBICKI:
       13   2, on the bottom there you'll see a Surgical         13       Q. Do you see West Virginia University on
       14   History section. Let me know if you see it.          14   the top?
       15       A. Yes.                                          15       A. Yes.
       16       Q. Again, these are the bullet points with       16       Q. Do you see the title, it says Informed
       17   the dates that we went over in a previous record.    17   Consent Site Version?
       18   Do you see in the first bullet point it says         18       A. Yes.
       19   peripheral artery intervention?                      19       Q. It's dated February 2, 2016?
       20       A. Yes, ma'am.                                   20       A. Yes.
       21       Q. That's May 3, 2016?                           21       Q. I'm sorry. That's the version. The
       22       A. Yes.                                          22   version is February 2, 2016. If you look at the
       23       Q. Then the next bullet point says on            23   title, it says Informed Consent Site Version
       24   April 20, 2016, you had a cardiac catheterization.   24   February 2, 2016; right?
       25           Do you see that?                             25       A. Consent form.
                                                      Page 151                                                   Page 153
        1       A. Yes.                                           1       Q. If you look at the title, it says
        2       Q. Then we have those two angioplasties           2   CAMN107A US37 Informed Consent Site Version
        3   that we discussed previously on February 26, 2016     3   February 2, 2016.
        4   and February 16, 2016. Do you see those in the        4           MR. HIGGINS: We'll stipulate that's
        5   third and fourth bullets?                             5   what it says.
        6       A. Angioplasty? I don't see it.                   6   BY MS. RYBICKI:
        7       Q. It will be right after the date. It            7       Q. Dr. Craig is a co-investigator on this
        8   will say balloon angioplasty.                         8   document. It's in the caption there.
        9       A. Okay.                                          9       A. Co-investigator, yes.
       10       Q. Is it fair to say that between                10       Q. This is another consent form for the
       11   February 2016 and May 2016, we have four             11   Tasigna clinical trial; right?
       12   procedures?                                          12       A. I don't know.
       13       A. Yes.                                          13       Q. Let's look back at the title that you
       14       Q. These are four procedures for your            14   just stipulated to. It says Informed Consent Site
       15   peripheral vascular disease; right?                  15   Version; right?
       16       A. Yes.                                          16       A. Yeah.
       17       Q. Do you remember being diagnosed with          17       Q. Do you see that? This is the consent
       18   coronary sclerosis? It was a general question.       18   form for the Tasigna clinical trial; right?
       19   It's not going to be in the records.                 19       A. I don't know.
       20       A. I don't remember.                             20       Q. Why don't you take time and find the
       21       Q. Has a doctor ever recommended -- has          21   title of the document because I want you to feel
       22   your cardiologist ever recommended open heart        22   comfortable with what this document is.
       23   surgery?                                             23           MR. HIGGINS: We'll stipulate that it is
       24       A. Yeah.                                         24   a consent form.
       25       Q. Do you remember when this was?                25           MS. RYBICKI: But I want Mr. Menear to



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        1   review the front page.                                 1       A. Yes.
        2           MR. HIGGINS: He can do that.                   2       Q. So you read this document on May 9,
        3           THE WITNESS: Informed consent site             3   2016?
        4   version, is that what you're talking about?            4       A. No.
        5   BY MS. RYBICKI:                                        5       Q. You did not read this document on May 9,
        6       Q. Right. Do you understand that this is           6   2016?
        7   the informed consent form?                             7       A. No.
        8       A. No.                                             8       Q. So you signed it without reading it?
        9       Q. Do you see at the very top of the               9       A. Yes.
       10   document where it says consent form?                  10       Q. So you don't know what this document
       11       A. Yes.                                           11   says at all?
       12       Q. Does that refresh your recollection that       12       A. No.
       13   this is a consent form?                               13       Q. But this document here, which is the
       14           MS. RYBICKI: Why don't we take a              14   informed consent form that you signed on May 9,
       15   two-minute break. Then Mr. Menear can look            15   2016, it specifically warns of coronary artery
       16   through the document and familiarize himself with     16   disease; right?
       17   what this is.                                         17          MR. HIGGINS: Objection. The document
       18           MR. HIGGINS: Okay.                            18   speaks for itself.
       19           (Recess from 2:04 p.m. to 2:06 p.m.)          19          You can answer.
       20           MR. HIGGINS: Have you had a chance to         20          THE WITNESS: I don't know.
       21   review it, Allen?                                     21   BY MS. RYBICKI:
       22           THE WITNESS: Yeah.                            22       Q. If you look at the first bullet point,
       23   BY MS. RYBICKI:                                       23   it says ischemic heart disease. And then it says
       24       Q. Mr. Menear, I'm going to read the study        24   coronary artery disease. Do you see that?
       25   title to you. It says a Phase II Randomized           25       A. Yes.
                                                       Page 155                                                   Page 157
        1   Multicenter Study of Treatment Free Remission in       1      Q. So this informed consent form warns of
        2   Chronic Myeloid Leukemia in Chronic Phase Patients     2   heart disease?
        3   Who Achieve and Sustain MR 4.5 After Switching to      3      A. Yes.
        4   Nilotinib (Tasigna). Do you see that?                  4      Q. It specifically warns of coronary artery
        5       A. Yes.                                            5   disease?
        6       Q. Do you understand that to mean that this        6      A. Yes.
        7   is a study of treatment free remission in CML for      7      Q. This document also specifically warns of
        8   people who are taking Tasigna?                         8   peripheral arterial occlusive disease; right?
        9       A. Yes.                                            9      A. Yes.
       10       Q. Does this refresh your recollection that       10      Q. This document specifically warns of
       11   this is an informed consent form that you signed      11   heart attacks and strokes; right?
       12   when taking Tasigna?                                  12      A. Yes.
       13       A. Yes.                                           13      Q. Then this document also says that people
       14       Q. On the bottom right there, we see your         14   who are in the high risk factor for developing
       15   initials again and the date May 9, 2016; right?       15   these side effects are people who have high blood
       16       A. Right.                                         16   pressure and high cholesterol, among other things;
       17       Q. This form is very similar to the one we        17   right?
       18   just looked at earlier. Again, feel free to read      18      A. Yes.
       19   it as much as you would like. But I would like to     19      Q. And it's fair to say, and you won't
       20   direct you to page 11, which is Bates 1041,           20   disagree with me, that you did have high blood
       21   counsel.                                              21   pressure and high cholesterol at this time?
       22           If you look at the bottom right, you'll       22      A. Yes.
       23   see that you initialed AM there; right?               23      Q. Dr. Craig went over this information
       24       A. Yes.                                           24   with you on the day that you signed this document?
       25       Q. Then you dated it May 9, 2016?                 25      A. No.



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        1       Q. Dr. Craig signed this document though;         1   for those diseases; right?
        2   right?                                                2      A. Yeah.
        3       A. Yeah, I think.                                 3      Q. Moving on to the fourth page in the
        4       Q. If look at the last page, you will see         4   Assessment section, do you see the Assessment
        5   his signature. Do you see that? Do you see            5   section?
        6   Dr. Craig's signature on the last page there?         6      A. Yes.
        7       A. Yeah.                                          7      Q. Assessment number one says, "CML with
        8       Q. So if Dr. Craig testified at deposition        8   nilotinib trial, NED." Do you know what NED
        9   last week and he said that he went over every         9   stands for?
       10   single page of this document with you, would he      10      A. No.
       11   not be telling the truth?                            11      Q. NED stands for no evidence of disease.
       12          MR. HIGGINS: Object to the form of the        12   Does that sound right, that you were getting
       13   question.                                            13   treated for CML with Tasigna, and in August of
       14          You can answer.                               14   2016 you had no evidence of disease?
       15          THE WITNESS: Yeah.                            15      A. Yes.
       16   BY MS. RYBICKI:                                      16      Q. So the Tasigna was working?
       17       Q. Dr. Craig did not go over every single        17      A. Yes.
       18   page of this document with you?                      18      Q. Item 2 is "CAD/PVD." I'll represent to
       19       A. No.                                           19   you that CAD is coronary artery disease and PVD is
       20       Q. Let's go to Exhibit No. 23, which is the      20   peripheral vascular disease. Do you see that as
       21   August 1, 2016 medical record. There's going to      21   an issue that you had in August of 2016?
       22   be three documents from August 1, 2016. I'm going    22          MR. HIGGINS: Objection to the form.
       23   to start with the one that's the oncology record     23          You can answer.
       24   of Dr. Craig.                                        24          THE WITNESS: What was that date again?
       25          MR. HIGGINS: The first is the oncology        25

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        1   record?                                               1   BY MS. RYBICKI:
        2          MS. RYBICKI: No. The first is the              2       Q. The date of this record is August 1,
        3   nurse's note.                                         3   2016. Let's kind of take a step back. This is
        4   BY MS. RYBICKI:                                       4   the Assessment section in a medical record with
        5       Q. You're on the nurse's note? This               5   Dr. Craig on August 1, 2016. Okay? Are you
        6   document is dated August 1, 2016; right?              6   following me? Do you see the Assessment section?
        7       A. Yes.                                           7       A. Yes.
        8       Q. Do you see the Identification section?         8       Q. Do you see number 2 says "CAD/PVD"?
        9   It is Bates 1137 at the bottom. Do you see the        9       A. Yes.
       10   Identification section?                              10       Q. Do you know that CAD means coronary
       11       A. Yes.                                          11   artery disease?
       12       Q. Do you see right below, maybe seven           12       A. Yes.
       13   lines below, that it says May 2016?                  13       Q. Do you know that PVD means peripheral
       14       A. May 2015.                                     14   vascular disease?
       15       Q. May 2016 should be right after that.          15       A. Yes.
       16       A. Yes.                                          16       Q. So it's fair to say in August of 2016,
       17       Q. It says, "May 2016 - CAD/PVD with             17   Dr. Craig diagnosed you with CAD and PVD; right?
       18   several stents placed since last visit."             18       A. Yes.
       19          Do you see that?                              19       Q. And then number three says "Neuropathy";
       20       A. Yes.                                          20   right?
       21       Q. At this time in August 2016, Dr. Craig        21       A. Yes.
       22   was aware of your ongoing coronary and peripheral    22       Q. And then number four and number five,
       23   arterial diseases?                                   23   number four says "DM," and number five says "DVT
       24       A. Yes.                                          24   history"; right?
       25       Q. He was aware you were getting treatment       25       A. Yes.



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        1       Q. In the Plan section, number two says            1       A. I don't remember.
        2   "Continue with nilotinib. Answered questions           2       Q. Let me ask you this: We're about to see
        3   about drug and CAD risks."                             3   in a couple of exhibits another ICF, informed
        4           Do you see that?                               4   consent form, that you had a hard time identifying
        5       A. Yes.                                            5   before.
        6       Q. You know that nilotinib is Tasigna?             6          My question to you generally right now
        7       A. Yes.                                            7   is: Do you remember signing a bunch of these
        8       Q. So at this point in time, Dr. Craig is          8   informed consent forms to take Tasigna?
        9   continuing you on Tasigna; is that right?              9       A. No, I don't, no. I don't remember.
       10       A. Yes.                                           10       Q. Let's go to the other 8/1/16 record, and
       11       Q. It says here he answered questions about       11   that would be Exhibit 24, August 1, 2016 Dr. Craig
       12   CAD risks. Do you see that?                           12   visit. That would be Bates 1126.
       13       A. Yes.                                           13          Do you see on the bottom there where it
       14       Q. So he explained that there are coronary        14   says Nurses Notes by Beal, Patricia on August 1,
       15   artery disease risks associated with Tasigna, and     15   2016?
       16   then he answered your questions about them; right?    16       A. Yes, ma'am.
       17       A. I don't know. I don't believe I had any        17       Q. And do you see the note is titled ICF
       18   questions.                                            18   Amendment Documentation?
       19       Q. Aside from your questions, Dr. Craig           19       A. Yes.
       20   still explained to you the risks, the coronary        20       Q. I'm going to read this section to you.
       21   artery disease risks affiliated with Tasigna;         21   It says; "Patient states overall he's feeling well
       22   right?                                                22   with no complaints. Still has some pain in his
       23           MR. HIGGINS: Object to the form. The          23   lower legs when he walks some distance, but it
       24   document speaks for itself.                           24   isn't as bad as it had been prior to stents being
       25                                                         25   placed."
                                                       Page 163                                                   Page 165
        1   BY MS. RYBICKI:                                        1          Do you see that?
        2       Q. I'm not asking you what the document            2      A. No. I haven't found that.
        3   says, Mr. Menear. I'm asking you what you              3      Q. It's right on the bottom there, the
        4   remember. At this point on August 1, 2016,             4   second line. Did you see that statement?
        5   Dr. Craig explained to you coronary artery disease     5      A. Yeah.
        6   risks associated with Tasigna; right?                  6      Q. Then it also says, "His wife was with
        7       A. I don't know.                                   7   him for this visit, and they had a lot of
        8       Q. That's what the record says; right?             8   questions regarding disease status, continuing
        9          MR. HIGGINS: Objection. The record              9   treatment, all of which were answered by the
       10   speak for itself.                                     10   providers and myself."
       11   BY MS. RYBICKI:                                       11          Do you see that?
       12       Q. You may answer.                                12      A. My wife asked the questions.
       13       A. I don't know.                                  13      Q. But this is generally what happened;
       14       Q. I'm asking if that's what the record           14   right?
       15   says.                                                 15      A. Yes.
       16          MR. HIGGINS: Same objection.                   16      Q. Do you remember what questions your wife
       17          THE WITNESS: That's what's on the              17   asked, by any chance?
       18   paper.                                                18      A. No.
       19   BY MS. RYBICKI:                                       19      Q. As we covered earlier, you had undergone
       20       Q. In the Plan section that we were just          20   four different surgical procedures to treat your
       21   in, do you see number three says, "New consent        21   cardiovascular problems at this point. Did you
       22   today for possible recurrence of hepatitis B"?        22   ask any questions about those cardiovascular
       23       A. Yes.                                           23   problems?
       24       Q. Dr. Craig had you sign another consent         24      A. My wife did.
       25   form on that day?                                     25      Q. Do you remember what questions she



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        1   asked?                                                1   expert at reading medical records after this.
        2       A. No.                                            2           Do you see it says West Virginia
        3       Q. Did she ask whether your cardiovascular        3   University on top?
        4   issues were related to Tasigna at all?                4       A. Yes.
        5       A. No.                                            5       Q. And do you see the title is the funny
        6       Q. In the same paragraph it says, "Provider       6   name and number. Then it says Informed Consent
        7   reviewed labs and examined patient and stated for     7   Site Version May 26, 2016.
        8   him to continue on study treatment at current dose    8       A. Okay, yes.
        9   of nilotinib, 300 milligrams, twice daily."           9       Q. And then what looks like a little
       10          Does that sound right, that you               10   sticker there with a bar code, it has your name on
       11   continued to take Tasigna at this point?             11   it, Allen Menear. Do you see that?
       12       A. Yes.                                          12       A. Yes.
       13       Q. Then we see a table there, and the table      13       Q. It has your date of birth?
       14   says Consent Statements/Questions with options,      14       A. Yes.
       15   Yes, No or No Answer.                                15       Q. And then in the study title it says that
       16          Do you see that? Do you see the table?        16   this is a Phase II Randomized Multicenter Study of
       17       A. Yes.                                          17   Treatment Free Remission in Chronic Myeloid
       18       Q. Number four says, "Protocol and consent       18   Leukemia in Chronic Phase Patients Who Achieve and
       19   changes were thoroughly discussed by the treating    19   Sustain MR 4.5 After Switching to Nilotinib
       20   physician." And do you see it was checked "Yes"?     20   Tasigna.
       21       A. Yes.                                          21           Do you see that?
       22       Q. Number six, "Discussion included any          22       A. Yes.
       23   changes to the purpose, risks, benefits, treatment   23       Q. This is an informed consent form for
       24   alternatives, study procedures, medications, study   24   taking Tasigna?
       25   duration and voluntary participation." That was      25       A. I don't know. I'd have take time out
                                                      Page 167                                                   Page 169
        1   checked "Yes," too; right?                            1   and read it all.
        2       A. Yes.                                           2          MR. HIGGINS: We'll stipulate that's
        3       Q. And number eight says, "Subject/LAR was        3   what it is.
        4   given ample time to read the consents in private,     4   BY MS. RYBICKI:
        5   to ask questions and to have questions answered."     5       Q. Are those your initials on the bottom of
        6   And that was checked "Yes," too; right?               6   page there?
        7       A. Yes.                                           7       A. Yes.
        8       Q. So at this visit, the doctor or the            8       Q. And did you date page?
        9   nurse went over the risks and benefits of Tasigna     9       A. Yes.
       10   treatment with you; right?                           10       Q. If you can go through every single page
       11       A. Yes.                                          11   of this document, of this informed consent form
       12       Q. You were given ample time to read and         12   and tell me if you initialed and dated each single
       13   talk in private and ask questions; right?            13   page.
       14       A. Yes.                                          14       A. Yes.
       15       Q. Do you remember if you had any questions      15       Q. If you go to the last page, you'll see
       16   at this visit?                                       16   that you signed the document; right?
       17       A. No.                                           17       A. Yes.
       18          MS. RYBICKI: The next exhibit is the          18       Q. And you again dated it and then you put
       19   August 1, 2016 consent form. It's Exhibit 25.        19   in the time?
       20   I'm going to gloss over it. It's a similar           20       A. Yes.
       21   document. I want to see what Mr. Menear was going    21       Q. On August 1, 2016, you were aware that
       22   to say about it.                                     22   you were going to continue taking Tasigna; right?
       23   BY MS. RYBICKI:                                      23       A. Yes.
       24       Q. Mr. Menear, yet again we see a similar        24       Q. At this point, the nurses and the doctor
       25   document. I told you you were going to be an         25   again reminded you of the side effects of taking


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        1   Tasigna; right?                                       1      Q. It's fair to say that the doctor,
        2          MR. HIGGINS: Object to the form.               2   Dr. Craig, and the nurses frequently or at points
        3          You can answer.                                3   reminded you of the side effects of taking
        4          THE WITNESS: Yes.                              4   Tasigna?
        5   BY MS. RYBICKI:                                       5          MR. HIGGINS: Object to the form.
        6       Q. And the doctor and the nurses                  6          Go ahead. Answer.
        7   periodically reminded you of these Tasigna side       7          THE WITNESS: No. I can't answer that.
        8   effects through forms like this one; right?           8   BY MS. RYBICKI:
        9          MR. HIGGINS: Object to the form.               9      Q. When you say you can't answer that, how
       10          You can answer.                               10   can I help you answer that?
       11          THE WITNESS: I can't answer. I don't          11      A. They went over some symptoms, diarrhea,
       12   know.                                                12   vomiting, headaches.
       13   BY MS. RYBICKI:                                      13      Q. So you're saying when you signed each
       14       Q. This is not the first form that we're         14   one of these informed consent forms --
       15   seeing today. This is the third one we've looked     15      A. No. I'm not saying that.
       16   at together; right?                                  16          MR. HIGGINS: Let her finish the
       17       A. Yes.                                          17   question.
       18       Q. So it's fair to say that you were             18   BY MS. RYBICKI:
       19   reminded of these side effects several times;        19      Q. When you were signing each one of these
       20   right?                                               20   informed consent forms, the only side effect that
       21          MR. HIGGINS: Object to the form.              21   you were warned about by the doctor and the nurses
       22          You can answer.                               22   were diarrhea and nausea and vomiting and stuff
       23          THE WITNESS: I can't answer it.               23   like that, is that what you're testifying to
       24   BY MS. RYBICKI:                                      24   today?
       25       Q. What would help you answer that               25      A. Correct.
                                                      Page 171                                                   Page 173
        1   question?                                             1      Q. So if Dr. Craig testified he
        2       A. Well, if it said a trial some place.           2   specifically told you about the risks and side
        3       Q. What about a study, would that work for        3   effects of taking Tasigna other than diarrhea and
        4   you, or does it have to be trial?                     4   nausea, would he be incorrect?
        5       A. Study would work.                              5          MR. HIGGINS: Objection. Form.
        6       Q. If I direct your attention back to the         6          THE WITNESS: No.
        7   title on the first page, study title it says here     7   BY MS. RYBICKI:
        8   a Phase II Randomized Multicenter Study of            8      Q. So he would be correct because he did --
        9   Treatment Free Remission.                             9   I'm going to reword this question so it will be
       10          Do you see that?                              10   easier for you to understand.
       11       A. Yes.                                          11          Dr. Craig and maybe some of the nurses
       12       Q. Does that refresh your recollection that      12   through these ICF forms that you signed several
       13   this was a consent form that you needed to sign to   13   times told you about these cardiovascular events
       14   participate in the Tasigna study?                    14   and cardiovascular risks; is that right?
       15       A. Yes.                                          15      A. I don't remember.
       16       Q. So this is the third one that you and I       16      Q. When you signed these ICF forms, the
       17   have gone over today; is that right?                 17   doctor and the nurses told you that if you took
       18       A. Yes.                                          18   Tasigna, you might get heart disease?
       19       Q. So is it fair to say this is the third        19      A. No.
       20   informed consent form for the Tasigna trial that     20      Q. Did they tell you if you took Tasigna,
       21   we've seen today?                                    21   you can get a heart attack?
       22       A. Yes.                                          22      A. No.
       23       Q. And you signed and dated every page of        23      Q. And if you took Tasigna, you can get
       24   each one of them; right?                             24   peripheral arterial occlusive disease?
       25       A. Yes.                                          25      A. No.


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        1      Q. Did Dr. Craig ever tell you that your           1       Q. What this is saying is that you went off
        2   vascular disease comes from your strong family        2   of Tasigna and then your BCR/ABL levels started
        3   history?                                              3   going up again; is that right?
        4      A. No.                                             4       A. Correct.
        5      Q. Did Dr. Craig ever -- did Dr. Craig or          5       Q. What he says is when you were off
        6   your heart doctor or your vascular doctor, as you     6   Tasigna, you were losing molecular remission.
        7   called him, tell you that any of your                 7   That's what he's saying; right?
        8   cardiovascular issues are because of your family      8       A. Yes.
        9   history?                                              9       Q. So what he wants to do is restart
       10      A. No.                                            10   nilotinib, which is Tasigna; is that right?
       11      Q. The next exhibit I believe is                  11       A. Yes.
       12   Exhibit 26, which would be the August 7, 2017        12       Q. Do you remember what Dr. Craig told you
       13   oncology record of Dr. Craig. Do you see that        13   at this point about Tasigna?
       14   this is a West Virginia University Medicine          14       A. No. I don't remember.
       15   medical record?                                      15       Q. Did he tell you your CML was coming
       16           MR. HIGGINS: Make sure we have the           16   back?
       17   right document.                                      17       A. Yes.
       18           MS. RYBICKI: Is it 4507 at the bottom?       18       Q. And were you disappointed that your CML
       19           MR. HIGGINS: Yes.                            19   was coming back?
       20   BY MS. RYBICKI:                                      20       A. Yes.
       21      Q. It should be in the center there. It           21       Q. You were kind of hoping that it would
       22   should say WVU Medicine.                             22   stay in remission and you would continue without
       23      A. Return Patient Progress Notes.                 23   any TKI treatment; right?
       24      Q. Yes. Do you see it's dated August 7,           24       A. Right.
       25   2017?                                                25       Q. That was the whole point of the clinical
                                                      Page 175                                                Page 177
        1       A. Yes.                                           1   trial that we were talking about?
        2       Q. If you go to the Patient Identification        2       A. Yes.
        3   section, do you see that section?                     3       Q. And it didn't work out the way it should
        4       A. Yes.                                           4   have; right?
        5       Q. Then go way lower to around                    5       A. Right.
        6   February 2017.                                        6       Q. So you needed to go back on your Tasigna
        7          Do you see that?                               7   to continue to treat your CML?
        8       A. Yes.                                           8       A. Yes.
        9       Q. The next line, it says, "Completed             9       Q. Did Dr. Craig explain to you why your
       10   nilotinib in May 2017, in molecular remission, per   10   CML needed to be treated?
       11   protocol goes on observation now."                   11       A. He just explained my numbers were low.
       12          Do you see that?                              12       Q. Did he explain to you that if you don't
       13       A. Yes.                                          13   treat it, you can die?
       14       Q. Then says "June 2017 - BCR/ABL weakly         14       A. No.
       15   positive."                                           15       Q. If you don't treat CML, you can die.
       16          Do you see that?                              16   You knew that; right?
       17       A. Yes.                                          17       A. I don't recall.
       18       Q. If you go to the sixth page, which is         18       Q. CML is cancer; right?
       19   Bates 4513, there's a note by Dr. Craig that says,   19       A. Yeah.
       20   "I personally saw and evaluated the patient. See     20       Q. If you don't treat your CML, the result
       21   midlevel's note for additional details. My           21   is you can die?
       22   findings/participation are CML, loss of molecular    22       A. Yeah. He told me that the first day.
       23   remission while off TKI. Restart nilotinib."         23       Q. Here when you started coming -- when you
       24          Do you see that?                              24   came off of Tasigna, your levels started
       25       A. Yes.                                          25   increasing again; right?


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        1      A. Yes.                                             1       A. Yes.
        2      Q. There was a risk that if you didn't              2       Q. Did Dr. Craig talk to you about any
        3   treat your cancer, you would die; is that right?       3   other medications at this point?
        4      A. He never told me that, no.                       4       A. No.
        5      Q. But you knew you had to keep your levels         5       Q. Let's go to our next record. I believe
        6   down?                                                  6   it is Exhibit 27, and it is a September 6, 2018
        7      A. Yes.                                             7   oncology record from Dr. Craig.
        8      Q. And why were you keeping your levels             8          Just to identify for the record, this is
        9   down?                                                  9   a West Virginia University Medicine medical
       10      A. To survive.                                     10   record; right?
       11      Q. At this point, you and Dr. Craig were           11       A. Yes.
       12   both aware of your cardiovascular problems; right?    12       Q. And it's dated September 6, 2018?
       13      A. Yes.                                            13       A. Yes.
       14      Q. That's because you both read and signed         14       Q. And that's your name there, Allen
       15   multiple forms that talked about them; right?         15   Menear?
       16          MR. HIGGINS: Object to the form of the         16       A. Yes.
       17   question.                                             17       Q. If you see in the patient identification
       18          You can answer.                                18   section, there's lots of dates. It's kind of a
       19          THE WITNESS: No.                               19   timeline. Do you see that?
       20          MS. RYBICKI: I'm going to object to you        20       A. Yes.
       21   coaching the witness every time you object.           21       Q. If you keep going down, you'll see
       22          MR. HIGGINS: How did I coach him?              22   February 2017, May 2017, June 2017. Do you see
       23          MS. RYBICKI: You're objecting to form,         23   that?
       24   and I can form my questions however I want. I         24       A. Yes.
       25   don't think there's anything wrong with my            25       Q. So if we focus on December 29, 2017, do
                                                       Page 179                                                 Page 181
        1   question.                                              1   you see that date?
        2          MR. HIGGINS: Well, I promise not to             2       A. Let me find it here.
        3   coach him. I'm not going to promise not to             3       Q. It would be the third line from the
        4   object.                                                4   bottom.
        5          MS. RYBICKI: I'm going to re-ask my             5       A. Yeah.
        6   question, and it's going to be in a good form.         6       Q. Do you see December 29, 2017?
        7          MR. HIGGINS: I hope so.                         7       A. Yes.
        8   BY MS. RYBICKI:                                        8       Q. It says, "Left BKA secondary to chronic
        9      Q. You just testified at this point you and         9   critical ischemia with osteomyelitis left first
       10   Dr. Craig were aware of your cardiovascular           10   great toe."
       11   problems; right?                                      11          Do you see that?
       12      A. Yes.                                            12       A. Yes.
       13      Q. And that's because you both read and            13       Q. Do you know that BKA stands for below
       14   signed the consent forms that we talked about;        14   the knee amputation?
       15   right?                                                15       A. I didn't know that, no.
       16          MR. HIGGINS: I object to the form. I           16       Q. Does that sound right to you, that on
       17   also object to stating facts that are not in          17   December 29, 2017, you had a below knee
       18   evidence. There's no evidence he read the form.       18   amputation?
       19   BY MS. RYBICKI:                                       19       A. Yes.
       20      Q. You still have to answer my question.           20       Q. What amputation was that?
       21          MR. HIGGINS: That's true.                      21       A. What do you mean?
       22          THE WITNESS: No.                               22       Q. What was amputated?
       23   BY MS. RYBICKI:                                       23       A. My left leg.
       24      Q. You made the decision to continue taking        24       Q. If you go down to the last entry of
       25   Tasigna; right?                                       25   May 10, 2018, it says, "BCR/ABL weakly positive.



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        1   Nilotinib discontinued due to PVD and h/o             1   of breath."
        2   amputation. Literature review suggesting it can       2           Do you see that?
        3   be a contributing factor to vascular events. On       3      A. Yes.
        4   observation."                                         4      Q. Do you know what pleural effusions are?
        5          Do you see that?                               5      A. No.
        6       A. Yes.                                           6      Q. If I told you it's a buildup of fluid in
        7       Q. Were you taken off of Tasigna when you         7   the lungs, would that remind you of what that
        8   had your amputation?                                  8   means?
        9       A. No. It was right after.                        9      A. Yes.
       10       Q. It was right after it?                        10      Q. Did Dr. Craig make you aware pleural
       11       A. Yeah.                                         11   effusions were a side effect of SPRYCEL?
       12       Q. After you were off of Tasigna, your           12      A. Yes.
       13   levels started to go up again; is that right?        13      Q. But you started this drug anyway?
       14       A. Um-hum, and I asked Dr. Craig could all       14      A. Yes.
       15   my problems, the sores on my right leg be the        15      Q. Why did you take the drug even though
       16   problem of Tasigna, and he told me, yes, probably    16   you knew this was a side effect?
       17   is for sure.                                         17      A. Hopefully my numbers would get better.
       18       Q. So that's exactly what this record is         18      Q. Did you weigh the risk of side effect
       19   saying. I think Dr. Craig is saying literature       19   against the benefit of treating your CML?
       20   review suggesting it can be a contributing factor    20      A. No.
       21   to vascular event; right?                            21      Q. What was your thought process when you
       22       A. Yes, yes.                                     22   heard about pleural effusions as a possible side
       23       Q. So Dr. Craig is saying literature review      23   effect? Did you consider it at all, or were you
       24   shows that vascular events can be contributing       24   like, I'm taking SPRYCEL no matter what?
       25   factors; right?                                      25      A. No. I was on SPRYCEL. Then I got
                                                      Page 183                                                   Page 185
        1      A. Yes.                                            1   fluid. And nobody knew the first time.
        2      Q. If we go to the fifth page, which is the        2       Q. Let's take a step back. When you were
        3   Assessment section, if you go to the Assessment       3   first prescribed SPRYCEL, which is what we're
        4   section -- let me know when you're there.             4   talking about now, Dr. Craig told you, hey, if you
        5      A. Okay.                                           5   took SPRYCEL, if you take SPRYCEL, you could get
        6      Q. Do you see number one says, "CML with           6   pleural effusions?
        7   relapse. Restarting TKI"?                             7       A. No, he didn't.
        8          Do you see that?                               8       Q. He did not say that?
        9      A. Yes.                                            9       A. No.
       10      Q. So Dr. Craig saw that your CML was             10       Q. So this record that says discussion of
       11   coming back; right?                                  11   most common side effects that may include pleural
       12      A. Yes.                                           12   effusion, that did not happen?
       13      Q. So he wanted to put you on a TKI again;        13       A. To where he told me?
       14   right?                                               14       Q. If you look at the Plan section at the
       15      A. Yeah.                                          15   very bottom, there's a Plan section, and number
       16      Q. In the Plan section, it says number one,       16   two, do you see where it says number two, "Consent
       17   "Will begin dasatinib, 100 milligram daily."         17   signed today"?
       18          Do you see that?                              18       A. Yes.
       19      A. Yes.                                           19       Q. Why don't you read that entire number
       20      Q. We discussed earlier that dasatinib is         20   two.
       21   SPRYCEL. Does that sound familiar?                   21       A. No.
       22      A. Yes.                                           22       Q. I'm sorry?
       23      Q. It says, number two, "Consent signed           23       A. If Dr. Craig went over the side effects
       24   today. Discussion of most common side effects        24   of SPRYCEL. None of that was mentioned, me
       25   that may cause pleural effusions causing shortness   25   getting shortness of breath, which I had, and the



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        1   fluid in the lungs.                                    1   look at this record, you see that it's a West
        2       Q. So he did not warn you of this before           2   Virginia University Medicine document?
        3   you started taking SPRYCEL?                            3      A. Yes.
        4       A. No.                                             4      Q. Do you see in the bottom where it says
        5       Q. Were you aware of any side effect of            5   Cancer Center Notes? Dr. Craig is the author.
        6   SPRYCEL?                                               6      A. Yes.
        7       A. No.                                             7      Q. This is dated September 23, 2021; right?
        8       Q. When you started taking SPRYCEL, do you         8      A. Yes.
        9   remember if your numbers went down?                    9      Q. If you look at page 2 in the Patient
       10       A. Yes.                                           10   Identification section and you look all the way on
       11       Q. Did they go down?                              11   the bottom, the last line says June 2021.
       12       A. Yes.                                           12      A. I'm here.
       13       Q. So that means SPRYCEL was working;             13      Q. It says, "Stable. Small pleural
       14   right?                                                14   effusion. Continues dasatinib. BCR/ABL pending."
       15       A. Yes.                                           15          Do you see that?
       16       Q. And then at some point, I'll represent         16      A. Yes.
       17   to you on March 22 your dose of SPRYCEL started to    17      Q. So this is June 2021 we're talking
       18   get reduced. Do you remember that?                    18   about. It says you still have pleural effusion
       19       A. Yes.                                           19   and that you're taking dasatinib; right?
       20       Q. Do you remember if your dose of SPRYCEL        20      A. Yes.
       21   was being reduced because of you exhibiting           21      Q. We discussed earlier that dasatinib is
       22   symptoms of pleural effusion?                         22   SPRYCEL.
       23       A. Yes.                                           23      A. Yes.
       24       Q. What is it like having pleural effusion?       24      Q. So in June 2021, you were still taking
       25       A. Having two-liter bottle of fluid in your       25   SPRYCEL?
                                                       Page 187                                                  Page 189
        1   lungs.                                                 1       A. Yes.
        2       Q. What are you feeling?                           2       Q. Does this refresh your recollection that
        3       A. You can't breathe.                              3   you took SPRYCEL for approximately three years?
        4       Q. Are you like coughing and spitting stuff        4       A. Yes.
        5   up?                                                    5       Q. If you go to the page where the Bates
        6       A. No. Just shortness of breath. It takes          6   number is 2158, if you look kind of in the middle
        7   your breath. You can't sleep.                          7   of the page there, you'll see a note from
        8       Q. Did you ever require hospitalization for        8   Dr. Craig, and it says, "I personally saw and
        9   your pleural effusion?                                 9   evaluated the patient. See midlevel's notes for
       10       A. Yes, I did.                                    10   additional details. My findings/participation are
       11       Q. Do you remember how many times?                11   CML. Restart Gleevec. Recurrent effusion from"
       12       A. Once.                                          12   -- it's supposed to say dasatinib.
       13       Q. Sorry for going back to the timeline.          13            Is it fair to say that -- it says here
       14   You started taking SPRYCEL in September of 2018.      14   that you got recurrent pleural effusion from
       15   Is it fair to say that you took SPRYCEL for three     15   taking SPRYCEL; right?
       16   years approximately?                                  16       A. Yes.
       17       A. No. It wasn't that long.                       17            MR. HIGGINS: I'm going to have object
       18       Q. How long would you say you took SPRYCEL?       18   to the form of the question because you indicated
       19       A. Nine months.                                   19   the document was supposed to say something. Based
       20       Q. We just established that you started           20   upon that objection, he already answered yes.
       21   taking SPRYCEL in September 2018; is that right?      21   BY MS. RYBICKI:
       22       A. Yeah.                                          22       Q. Just for the record, the document says
       23       Q. Let me show you a record. It's a               23   D-A-A-T-I-N-I-B. Do you see that, Mr. Menear?
       24   September 23, 2021 oncology record by Dr. Craig.      24       A. What is it again?
       25   This is Exhibit 28. The Bates is 2152. If you         25




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        1      Q. Do you see where says D-A-A-T-I-N-I-B?          1      Q. You also state you're seeking
        2      A. Yes.                                            2   reimbursement for all medical billing costs?
        3      Q. Would you agree with me that that's             3      A. Correct.
        4   meant to say dasatinib?                               4      Q. The PFS also says that other than
        5      A. Yes.                                            5   medical billing costs, you're not seeking any
        6      Q. Is it fair to say you were taking               6   other out-of-pocket costs; is that right?
        7   SPRYCEL and you were getting pleural effusions        7      A. I can't think of the word right now.
        8   from the SPRYCEL?                                     8   The hardship my wife endured.
        9      A. Yes.                                            9      Q. Outside of the hardship that your wife
       10      Q. And then the doctor says restart you on        10   endured, what about your out-of-pocket costs.
       11   Gleevec at this point?                               11   That's limited to medical bills; is that right?
       12      A. Yes.                                           12      A. Yeah.
       13      Q. So is it fair to say that you were taken       13      Q. And what medical bills are you seeking
       14   off of SPRYCEL because of your pleural effusions     14   payment for?
       15   and you were switched to Gleevec; is that right?     15      A. My amputation, all the hospital visits.
       16      A. Correct.                                       16      Q. Hospital visits for what?
       17      Q. But you had already taken Gleevec              17      A. After the amputation.
       18   before; right?                                       18      Q. Is it fair to say that the only
       19      A. Um-hum.                                        19   injury -- I'm getting the sense that the only
       20      Q. And you were going to give Gleevec             20   injury that you claim was caused by Tasigna is
       21   another try; right?                                  21   your amputation of your leg. Is that right or am
       22      A. Yeah.                                          22   I wrong?
       23      Q. You were going to take Gleevec because         23          MR. HIGGINS: Objection. Calls for a
       24   you needed to control your numbers?                  24   legal conclusion.
       25      A. Correct.                                       25          Subject to that, you can answer.
                                                      Page 191                                                  Page 193
        1      Q. And you wanted to make sure you don't           1          THE WITNESS: I don't know.
        2   die from the CML; is that right?                      2   BY MS. RYBICKI:
        3      A. Correct.                                        3       Q. You're suing Novartis, right, for the
        4      Q. Are you still on Gleevec today?                 4   negative effects from your taking of Tasigna. I'm
        5      A. Yes.                                            5   trying to figure out what injuries are you
        6      Q. Is it controlling your CML?                     6   alleging from the use of Tasigna.
        7      A. Yes.                                            7          MR. HIGGINS: Objection. Legal
        8      Q. Do you have any side effects from taking        8   conclusion. They're set out in the Complaint.
        9   Gleevec?                                              9          You can answer subject to my objection.
       10      A. No.                                            10          THE WITNESS: Look at me. Time out. I
       11      Q. According to your Plaintiff Fact Sheet         11   got to have time out. That made me mad.
       12   on page 10 -- there's no need to look at the         12          MR. HIGGINS: Do you want to take a
       13   document -- but you're not making a claim for lost   13   break?
       14   wages or earning capacity?                           14          MS. RYBICKI: Sure. If he needs a
       15      A. No.                                            15   break, we should definitely take one.
       16      Q. To be clear, you're not claiming that          16          (Recess from 3:04 p.m. to 3:05 p.m.)
       17   you missed time or income from work because of       17   BY MS. RYBICKI:
       18   Tasigna?                                             18       Q. You said that you were seeking payment
       19      A. No.                                            19   for medical bills.
       20      Q. But according to your Plaintiff Fact           20       A. Correct.
       21   Sheet, you are seeking recovery for out-of-pocket    21       Q. Did you have insurance at the time of
       22   expenses associated with any health conditions       22   your CML diagnosis?
       23   that you're claiming relate to your use of           23       A. Yes.
       24   Tasigna; is that right?                              24       Q. And did you have medical insurance from
       25      A. Correct.                                       25   the time your CML diagnosis in 2011 till present?


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        1       A. Yes.                                           1       Q. This happened as soon as you received
        2       Q. That includes when you started using           2   that surgery; is that right?
        3   Tasigna in 2014; right?                               3       A. Yes.
        4       A. Yes.                                           4       Q. We talked a little bit earlier about
        5       Q. What type of health insurance do you           5   your depression started from the incident in 1990.
        6   have or did you have?                                 6   Then we also talked about your trouble sleeping a
        7       A. United. And what is the other one?             7   little bit, too.
        8   Man, I just lost the words. There's two of them.      8       A. Um-hum.
        9   Help me out. It just went blank.                      9       Q. Have you ever consulted with a
       10       Q. That's okay. Let's move on. At any            10   psychologist or psychiatrist or someone in the
       11   point between November 2014 and the present, did     11   mental health field about your CML diagnosis
       12   you receive any disability or other compensation?    12   specifically?
       13       A. No, ma'am.                                    13       A. Not my CML.
       14       Q. Are you on Medicare or Medicaid?              14       Q. What about your amputation, did you
       15       A. Medicare. That's it. I couldn't get           15   consult a mental health professional about it?
       16   that out.                                            16       A. Yes.
       17       Q. As your counsel represented, in your          17       Q. Who did you consult?
       18   Complaint in this lawsuit, you do set out injuries   18       A. Who was it? Vicky Elkins.
       19   that you are alleging were caused by your use of     19       Q. Would that be E-L-K-I-N-S?
       20   Tasigna.                                             20       A. Yes.
       21          Now I want to get a complete list of any      21       Q. When did you consult Ms. Elkins or
       22   physical or emotional problems you claim that came   22   Dr. Elkins?
       23   from your use of Tasigna. The first one I'm going    23       A. It was probably 2018.
       24   to say is peripheral arterial occlusive disease.     24       Q. Do you have records from your
       25   Does that sound familiar to you as something you     25   consultation with Dr. Elkins?
                                                      Page 195                                                   Page 197
        1   were diagnosed with?                                  1      A. I doubt it. I'll look for them.
        2      A. No.                                             2      Q. If you find them, can you please give
        3      Q. Has any doctor told you that your               3   them to your counsel?
        4   peripheral arterial occlusive disease was caused      4      A. Sure.
        5   by Tasigna?                                           5      Q. What was the nature of the therapy or
        6      A. No. I don't know what that disease              6   treatment?
        7   you're telling me -- I don't know what it is.         7      A. What she had me do?
        8      Q. Did you say that you are diagnosed with         8      Q. Yeah. What happened?
        9   coronary artery disease, heart disease?               9      A. Look through a mirror, stare at a mirror
       10      A. Yes.                                           10   at my amputee. That helped me. It's hard to
       11      Q. Would you say that your heart disease          11   explain. She had me do some exercises.
       12   was caused by Tasigna?                               12      Q. Did the exercises help you?
       13      A. I don't know.                                  13      A. Oh, yeah, yeah. She had me with big
       14      Q. So we talked about this briefly, but           14   rubberbands working my stump. She helped me do
       15   your left leg amputation, you are alleging that      15   that.
       16   was caused by Tasigna; is that right?                16      Q. How long do you think you saw her for?
       17      A. Yes.                                           17      A. Two weeks.
       18      Q. This is going to be kind of hard to            18      Q. Why didn't you continue seeing her after
       19   think back to possibly, but what activities were     19   the two weeks?
       20   you no longer able to do because of your             20      A. I just felt like I didn't need her after
       21   amputation?                                          21   that. I could do the same things I was doing in
       22      A. I was an avid hunter, fisherman, golfer,       22   her office right there in my living room chair.
       23   outdoorsman. I used to coach football right up to    23      Q. Let's kind of change up the topics here.
       24   this time, and I coached basketball for 25 years.    24   Have you ever spoken with anyone from the
       25   My quality of life, it's not there right now.        25   federal -- have you ever spoken with anyone from



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        1   the federal Food and Drug Administration?              1   They first talked about taking my toe off. And
        2      A. No.                                              2   then it went up my ankle and up my shin. So then
        3      Q. Have you ever spoken to anyone from              3   they decided to just amputate below the knee.
        4   Novartis Pharmaceuticals Corporation?                  4      Q. Is that what they did?
        5      A. No.                                              5      A. Yes.
        6      Q. I'm going to take a two-minute break.            6      Q. Was there any subsequent amputations?
        7   I'm almost finished. I just want to make sure I        7      A. Yes.
        8   crossed the Ts and dotted the Is.                      8      Q. What happened there?
        9          (Recess from 3:17 p.m. to 3:22 p.m.)            9      A. I fell down. I was getting fitted for
       10   BY MS. RYBICKI:                                       10   my prosthetic. And I was just coming out of the
       11      Q. I have just a couple of questions.              11   building, and there was a big curb there, and I
       12   Mr. Menear, if I represented to you that there is     12   stepped down off of it. And my right knee gave
       13   a June 2018 nurse's note about diabetes education     13   out, and I drove my left leg right down in the
       14   and that the nurse wrote, "The patient states that    14   blacktop and busted it all open.
       15   he has had diabetes for about one year," would        15      Q. Are you saying the bone went through
       16   that sound right to you, that in June of 2018, a      16   your foot and hit it the blacktop? Is that a yes
       17   nurse said that you have had diabetes for one         17   or no?
       18   year?                                                 18      A. I didn't have a foot.
       19      A. I do remember something. I could have           19      Q. That's true. So your bone hit the
       20   said it, yes.                                         20   asphalt?
       21      Q. If that's right, that would mean that           21      A. Yes.
       22   your diabetes began sometime in June of 2017.         22      Q. And there was a subsequent amputation?
       23   Would that sound right?                               23      A. Yeah, above the knee.
       24      A. But I'm not taking nothing for diabetes.        24      Q. And when did you first start noticing
       25   I'm not on anything.                                  25   these black sores?
                                                       Page 199                                                 Page 201
        1       Q. In June of 2017, nobody told you that           1      A. Middle of 2017, I think.
        2   you had diabetes is what you're staying?               2      Q. Was that after you started taking
        3       A. Yes, yes, they could have.                      3   Tasigna?
        4       Q. Is it possible that you had diabetes            4      A. Oh, yeah.
        5   starting in 2017 and then you still have it? Is        5      Q. Do you know whether or not Dr. Craig
        6   it a possibility?                                      6   received anything of value from Novartis to
        7       A. No. I've been tested.                           7   encourage him to put you on to Tasigna?
        8          MS. RYBICKI: I have no further                  8          MS. RYBICKI: Objection.
        9   questions.                                             9          THE WITNESS: Not that I know of.
       10          MR. HIGGINS: I have a couple.                  10   BY MR. HIGGINS:
       11                RE-EXAMINATION                           11      Q. Is it true that Dr. Craig was running
       12   BY MR. HIGGINS:                                       12   the clinical study for Novartis?
       13       Q. First of all, Allen, I want to thank you       13      A. Yes.
       14   for showing up today, spending some time with us.     14      Q. Do you know if he was paid by Novartis
       15   I feel bad about your injuries.                       15   to do that?
       16          If anyone had warned you that taking           16      A. I do not know.
       17   Tasigna would cause you to lose your leg, would       17      Q. Did you say anything to Dr. Craig when
       18   you have started taking it?                           18   you found out he was going to put you back onto
       19       A. No.                                            19   Gleevec?
       20       Q. Could you please describe for us how you       20      A. Gleevec, no.
       21   came about having your left leg amputated? What       21      Q. You started with Gleevec after you got
       22   led to the amputation?                                22   CML; is that correct?
       23       A. My vessels clogged up, hardened, and I         23      A. Um-hum.
       24   started getting black sores all over both legs.       24      Q. Can you answer "yes" or "no"?
       25   And that was on both legs, right and the left leg.    25      A. Yes.


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        1      Q. You were on Gleevec for a while. Then          1   COMMONWEALTH OF PENNSYLVANIA )
        2   you were changed to Tasigna?                         2   COUNTY OF ALLEGHENY                     )   SS:
        3                                                        3            CERTIFICATE
               A. Tasigna.
        4                                                        4         I, Ann Medis, RPR, CLR, CSR-WA and
               Q. You were on Tasigna for a while. Then
        5                                                        5   Notary Public within and for the Commonwealth of
            you were changed to SPRYCEL; correct?
        6                                                        6   Pennsylvania, do hereby certify:
               A. Correct.
        7                                                        7         That ALLEN RAY MENEAR, the witness whose
               Q. You were on SPRYCEL for a while and then
                                                                 8   deposition is hereinbefore set forth, was duly
        8   you were changed back to Gleevec; correct?
                                                                 9   sworn by me and that such deposition is a true
        9      A. Correct.
                                                                10   record of the testimony given by such witness.
       10      Q. Did you have any discussions with
                                                                11         I further certify the inspection,
       11   Dr. Craig about why he was putting you back on a    12   reading and signing of said deposition were waived
       12   drug you had started with?                          13   by counsel for the respective parties and by the
       13      A. Well, he went online, found literature        14   witness.
       14   that Tasigna was causing these side effects,        15         I further certify that I am not related
       15   amputee, and he had no idea it would cause an       16   to any of the parties to this action by blood or
       16   amputee.                                            17   marriage and that I am in no way interested in the
       17      Q. That's when he took you off?                  18   outcome of this matter.
       18      A. That's when he called me and told me get      19         IN WITNESS WHEREOF, I have hereunto set
       19   off of it.                                          20   my hand this 31st day of January, 2023.
       20          MR. HIGGINS: That's all the questions I      21
       21   have.                                               22
       22              RE-EXAMINATION                                          _______________________________
       23   BY MS. RYBICKI:                                     23                  Notary Public
       24      Q. I just have one more question. Do you         24
       25   remember taking metformin?                          25

                                                     Page 203
        1      A. Yes.
        2      Q. Is that a diabetes drug?
        3      A. Yes. That was right after I was
        4   amputated. When I was in the hospital, they did
        5   the finger sticks, and it was high, but before I
        6   got out of the hospital, it was normal.
        7      Q. How long did you take metformin for?
        8      A. A couple weeks.
        9      Q. Have you taken it since?
       10      A. No.
       11          MS. RYBICKI: No further questions.
       12          MR. HIGGINS: We're finished. We will
       13   waive signature.
       14          (Whereupon, at 3:30 p.m., the taking of
       15   the instant deposition ceased.)
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